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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT
                                BRIDGEPORT DIVISION

 In re:                                                Chapter 11

 HO WAN KWOK,                                          Case No: 22-50073 (JAM)

                        Debtor.

                                                       Re: ECF Nos. 299 and 728


               CONSENT ORDER GRANTING HK INTERNATIONAL FUNDS
              INVESTMENTS (USA) LIMITED, LLC’S MOTION FOR ORDER
                ESTABLISHING REPAIR RESERVE FOR THE LADY MAY

          Upon the Motion for Order Establishing Repair Reserve for the Lady May (the “Motion”)

filed pursuant to this Court’s Stipulated Order Compelling HK International Funds Investments

(USA) Limited, LLC to Transport and Deliver that Certain Yacht, the “Lady May” (the “Stipulated

Order,” ECF No. 299) by HK International Funds Investments (USA) Limited, LLC (“HK USA”),

which seeks an order establishing the repair reserve (the “Repair Reserve”) required by the

Stipulated Order, including the amount of the Repair Reserve equaling $4,000,000.00 (the “Repair

Reserve Amount”) and certain ancillary relief as set forth therein; the Court having scheduled an

evidentiary hearing for Friday, October 7, 2022 at 10:00 a.m. (the “Hearing”) to consider the relief

requested by the Motion and any objections thereto; upon Pacific Alliance Asia Opportunity Fund

L.P.’s Limited Objection to HK International Funds Investments (USA) Limited, LLC’s Motion

to Establish Repair Reserve for the Lady May [ECF No. 871] and the Joinder of the Official

Committee of Unsecured Creditors in Pacific Alliance Asia Opportunity Fund L.P.’s Limited

Objection to HK International Funds Investments (USA) Limited, LLC’s Motion to Establish

Repair Reserve for the Lady May [ECF No. 873] (collectively, the “Limited Objections”); upon

further the written consent to the entry of this Order in resolution of the Motion and the Limited


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Objections by (a) each of the parties to the Stipulated Order, namely, the debtor, Ho Wan Kwok,

HK USA, the Official Committee of Unsecured Creditors appointed in this case, and the creditors,

Pacific Alliance Asia Opportunity Fund L.P., Rui Ma and Zheng Wu, as well as (b) the trustee

appointed in this case, Luc A. Despins (the “Trustee”), delivered to counsel for HK USA; 1 and

finally upon consideration of the Motion and the relief requested appearing to this Court to be

necessary and appropriate to carry out the orderly operation of the Debtor’s estate and, in

particular, the effectuation of the procedures set forth in the Stipulated Order; due and sufficient

notice of the Motion having been given under the particular circumstances; and after due

deliberation and sufficient cause appearing therefor, it is hereby:

         ORDERED that the Motion is hereby GRANTED to the extent set forth herein, the

Limited Objections have been resolved as set forth herein and, therefore, are hereby

WITHDRAWN, and the Repair Reserve required by the Stipulated Order and requested in the

Motion, including the Repair Reserve Amount equaling $4,000,000.00, is hereby authorized,

approved and established subject to the terms and conditions of this Order as follows:

         (i)      The Trustee shall hold the Repair Reserve Amount as escrow agent in the Trustee’s

                  section 345 bank account (the “Trustee’s Bank Account”) solely for the purpose of

                  securing the completion of the service, maintenance, and repairs required to be

                  performed to restore the Lady May to good working order in accordance with the

                  Stipulated Order, specifically, paragraph 11 (the “Required Repairs”) and this

                  Order; provided, however, that the Repair Reserve Amount shall be held in the

                  Trustee’s Bank Account as if segregated from all other funds in such account, and


1
  Nothing in this Order, nor the Trustee’s participation in formulating this Order, shall be deemed to affect whether
or not the Trustee is a party to or subject to the Stipulated Order, and all parties’ rights in this regard are reserved
including, but not limited to, the Debtor’s and HK USA’s position that the Trustee is, in fact, a party to and subject
to the terms and conditions of the Stipulated Order.

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                  the Trustee shall not be able to use or disburse any of the Repair Reserve Amount

                  except as provided in this Order;

         (ii)     HK USA shall cause the service, maintenance, and repairs set forth in the proposals

                  appended hereto as Exhibit A to be performed at Bridgeport Boatworks, 731

                  Seaview Avenue, Bridgeport, Connecticut, to repair the fuel pump/engines, repair

                  the paint on the starboard bow section of the hull, fabricate and install bilge boards

                  for center bilge, and service the starboard and port main engines (after repairs) on

                  the Lady May (the “Initial Work”);

         (iii)    The “Valve Service” described in the Motion, and any other Required Repairs (i)

                  not included in the Initial Work or (ii) not known at this time but discovered in

                  connection with either the Initial Work or the Valve Service (the “Remaining

                  Work”), shall be performed at a later date to be determined (but shall be completed

                  in no event later than on or before seven (7) months after the entry of this Order

                  which deadline may be extended for good cause shown), subject to further order of

                  this Court in accordance with the Stipulated Order;

         (iv)     To fund the Repair Reserve, this Court shall by separate Order in the form attached

                  hereto as Exhibit B direct the “Escrow Agent” to disburse from the “Escrow

                  Funds” (as these terms are used in the Stipulated Order) to the Trustee good funds

                  in the Repair Reserve Amount, which transfer shall establish the Repair Reserve in

                  accordance with Section 11 of the Stipulated Order; 2




2
 For the avoidance of doubt, and notwithstanding anything to the contrary in this Order, nothing in this Order, shall
affect the status of the remaining Escrow Funds (i.e., the other $33 million) other than the second to last decretal
paragraph of this Order which provides that HK USA has performed and satisfied its obligation to establish the
Repair Reserve in accordance with Section 3(v) and 11 of the Stipulated Order.

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     (v)     The Trustee shall pay from the Repair Reserve Amount the expenses (including

             any required deposits)) incurred to perform the Required Repairs or to pay the

             Insurance Deductible (as defined in the Motion) without further notice if such

             expenses are in accordance with the estimates set forth in Exhibit A, or if such

             expenses are not in accordance with such estimates, upon either:

             a.     The written consent of HK USA and the Trustee; or

             b.     The order of this Court following a motion seeking such relief and after due

                    notice and a hearing;

             To the extent that the Trustee and his advisors spend more than ten (10) hours in

             any given month related to the administration of payments from the Repair Reserve,

             the corresponding fees shall be paid out of the Repair Reserve;

     (vi)    Notwithstanding anything herein to the contrary, the Trustee shall not be, nor

             required to be, a party to any contract (including any work orders) related to the

             Required Repairs, and the Trustee shall have no liability whatsoever to any person

             providing goods or services related to the Required Repairs, except that the Trustee

             shall be required to pay expenses in accordance with, and subject to the terms of,

             this Order;

     (vii)   In the event and to the extent the Repair Reserve Amount is insufficient to fund

             fully and pay for the Required Repairs (“Repair Reserve Shortfall”), HK USA shall

             immediately deliver to the Trustee the Repair Reserve Shortfall (i) if funds are still

             held by the Escrow Agent, by seeking an Order from this Court directing the

             Escrow Agent to disburse good funds to the Trustee from the Escrow Funds; and/or

             (ii) by transferring good funds to the Trustee from other, non-escrowed sources.



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            Any dispute with respect to the Repair Reserve Shortfall shall be heard by this

            Court upon motion of any party and after due notice and a hearing and, once

            determined by this Court, HK USA shall immediately deliver the Repair Reserve

            Shortfall to the Trustee to be held by Trustee in accordance with this Order;

     (viii) After completion of the Initial Work and then again after the completion of all

            Required Repairs, including, but not limited to the Valve Service, HK USA shall

            (a) obtain documentation from (i) Bridgeport Boatworks or such other third-party

            contractor that provided the corresponding Required Repairs, and (ii) Lloyd’s

            Register of Shipping or the American Bureau of Shipping, certifying that the

            corresponding Required Repairs have been completed (the “Repair Certifications”)

            and (b) promptly cause the Lady May to be moved from dry dock into water;

     (ix)   Promptly upon receipt of a Repair Certifications, HK USA shall provide copies

            thereof to the Trustee, who shall then have a right to timely inspect the Lady May

            to confirm the completion of the corresponding Required Repairs (each, the

            “Trustee Inspection,” and, the final Trustee Inspection after the completion of all

            Required Repairs, the “Final Trustee Inspection”). Any costs associated with a

            Trustee Inspection shall be borne by the Debtor’s estate. If a Trustee Inspection

            does not commence within 15 days of the later of the Trustee’s receipt of the Repair

            Certification or the Lady May having been moved from dry dock into water, the

            Trustee waives its right to conduct the Trustee Inspection. For the avoidance of

            doubt, each Trustee Inspection may include a sea trial, at the sole discretion of the

            Trustee, which sea trial HK USA shall reasonably accommodate;




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     (x)    Upon completion of the Initial Work and the Trustee Inspection with respect to the

            Initial Work or upon the Trustee’s waiver of his right to inspect the Initial Work as

            set forth above, and in the event and to the extent the Repair Reserve Amount

            exceeds the amount reasonably necessary to secure the payment of the Remaining

            Required Repairs (“Repair Reserve Excess”) including, but not limited to, the

            Remaining Work, this Court, upon motion of HK USA filed on or after November

            15, 2022, and after due notice and a hearing, shall determine the Repair Reserve

            Excess, if any, and shall order the Trustee to transfer such Repair Reserve Excess

            to HK USA or, in the event this Court has entered an order granting a prejudgment

            remedy against HK USA and such prejudgment remedy is not otherwise fully

            secured, the Trustee shall continue to hold such Repair Reserve Excess subject to

            and in accordance with the order granting prejudgment remedy;

     (xi)   Upon completion of the Final Trustee Inspection, or upon the Trustee’s waiver of

            his right to inspect as set forth above, and in the event and to the extent the Repair

            Reserve Amount exceeds the amount that was necessary to pay for the Required

            Repairs (including, but not limited to, the Initial Work and the Valve Service), this

            Court, upon motion of HK USA and after due notice and a hearing, and once

            determined by this Court that the Required Repairs have been fully performed, shall

            order the Trustee to transfer any excess Repair Reserve funds to HK USA or, in the

            event this Court has entered an order granting a prejudgment remedy in favor of the

            Trustee and against HK USA and such prejudgment remedy is not otherwise fully

            secured, the Trustee shall continue to hold such excess subject to and in accordance

            with the order granting prejudgment remedy;



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       (xii)   HK USA shall cause any and all insurance proceeds payable on account of the

               Required Repairs to be paid either (i) to the entity performing the Required Repairs

               to pay for such Required Repairs or (ii) to the Trustee to be incorporated into and

               held as part of the Repair Reserve subject to the terms and conditions of this Order;

               and HK USA shall further promptly upon receipt of any such insurance proceeds

               provide the Trustee with documentation establishing that it has complied with this

               paragraph; and it is further

       ORDERED, that, by this Order, HK USA has performed and satisfied its obligation to

establish the Repair Reserve in accordance with Section 3(v) and 11 of the Stipulated Order;

provided, however, that HK USA shall not file with this Court the “HK USA Certification” as

permitted by paragraph 3 of the Stipulated Order before November 3, 2022; and it is finally

       ORDERED, that the Hearing will not be held in light of the entry of this Consent Order.



           Dated at Bridgeport, Connecticut this 7th day of October, 2022.




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                           EXHIBIT A
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                                                                                                                                                           FOR NQUIRIES PLEASE
                                        HOME OFFICE 500 World Commerce Parkway St. Augustine, FL 32092                                                    REFERENCE THIS NUMBER


 CUSTOMER QUOTE                     * EXPIRES 10/15/22                                                               *CHARGE*                    DOCUMENT NO.    00Q051982
 SOLD TO                                            CUSTOMER NO.                      SHIP TO
BEARD EQUIPMENT CO INC                                                                                                                 FILLED BY    {{{00Q051982
2480 E I65 SERVICE RD NORTH                        003387                                                                                W/C
MOBILE AL                36617                                                                                                         LOCATION
                                                      STORE                                                                              W/C
                                                        00                                                                              PIECES
       ORDERED BY               TELEPHONE                     CUST. ORDER NO.                      INSTRUCTIONS            DELIVERY LOCATION              SHIP VIA
  DEREK 386326268           904-296-5000                                                         00:                      00:                                            WILL

MAKE      MODEL            SERIAL NO.                  EQUIP NO.            ARRANGEMENT NO.              DATE            TIME        ENT. BY        REFERENCE NO.           PAGE

                                                                                                         9/15/22 15:27:48 CWH                                                1

  ITEM ----QUANTITY--- PART NUMBER/                                                                                       NET
   NO. ORDER SHIP B/O       DESCRIPTION                               LOCATION             N/R                  TR SOS    WEIGHT               UNIT PRICE EXTD PRICE
   PARTS SALES PERSON: HEYRMAN, CARL W.

   1           2       2  307-4581                                                                              QN AAA      106.5                  6807.47       13614.94
                              CORE AS-AFTC
                       TOTAL NET WEIGHT OF SHIPPED ITEMS                                                 213.0

                       NEED A HOSE BUILT? VISIT ANY RING POWER LOCATION TODAY. ALL MAKES!!!!


                                                                                                                     TAX EXEMPT LIC # FL RESALE EXEMP

                                                                                                                                 USD SELL TOTAL                  13614.94




                                                                                **SIGNATURE REQUIRED**
SEE REVERSE FOR
PARTS RETURN POLICY
                             RECEIVED BY
                                                             /                    PRINT NAME
                                                                                                                 /   DATE RECEIVED
                                                                                                                                                          ORIGINAL
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    Case 22-50073
REPLACE      ENGINE OIL AND  Doc OIL
                                   930FILTERS
                                            Filed 10/07/22 Entered   10/07/22 09:24:46       Page 11 of 54
REPLACE FUEL FILTERS
REPLACE RACOR SEPARATORS (2)
INSPECT RAW WATER IMPELLER (IF APPLICABLE)
PERFORM DOCKSIDE FUNCTION TEST
REPLACE CCV FUMES DISPOSAL FILTER ELEMENT (2)
REPLACE RAW WATER IMPELLER (EXCLUDING BRASS)
REPLACE OIL AND FILTER ON MARINE GEAR
OBTAIN LEVEL 2 COOLANT SAMPLE
REPLACE ENGINE BELTS
CHECK/ADJUST VALVE LASH
REPLACE THERMOSTATS
**************************************************
CUSTOMER TO SUPPLY ALL FLUIDS, FILTERS, AND PARTS
WITH THE EXCEPTION OF THE FOLLOWING:
- ZINC ANODES
- COOLING SYSTEM TEMP. REGULATOR
-FUEL TRANSFER PUMP

                                                                 Total Estimated Parts:                  250.00
                                                                 Total Estimated Labor:                3,614.00

                                                                         Segment 02 Total:             3,864.00



CLEAN AND TEST HEAT EXCHANGER
NOTES:
HEAT EXCHANGER WILL BE REMOVED AND SENT OUT TO BE
CLEANED AND TESTED, THEN WILL BE RE-INSTALLED.
-IF ANY ITEMS ARE FOUND TO NOT MEET CAT REUSE
GUIDELINES AN ESTIMATE WILL BE PREPARED FOR
APPROVAL.


                                                                         Segment 03 Total:             5,999.00



CLEAN AND TEST AFTERCOOLER CORE
NOTES:
AFTERCOOLER CORE TO REMOVED AND SENT OUT TO BE
CLEANED AND TESTED, THEN REINSTALLED.
-ANY ITEMS FOUND TO NOT MEET CAT REUSE GUIDELINES
WILL BE QUOTED.


                                                                         Segment 04 Total:             3,616.00
                                                                          Total Segments:            15,279.00
ENVIRONMENTAL/MISCELLANEOUS                                                                                 300.00
SUB TOTAL (BEFORE TAXES)                                                                             15,579.00
TOTAL ESTIMATE                                                                                       15,579.00




MY LADY MAY                                                  86357 - 1                             Page 2
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I hereby authorize the above repair work to be done along with the necessary materials. Ring Power Corporation
and it's employees may operate above equipment for purposes of testing. Inspection or delivery at my risk. An
expressed mechanics lien is acknowledged on equipment to secure the cost of all repairs thereto. Ring Power
Corporation is not responsible for loss or damage to equipment in case of fire, theft, accident, or any other cause
beyond our control. Replaced parts will be held for a period of ten days after work completion. The cost of labor and
parts in determining any estimate shall be borne by the customer.


PO#: ______________                   Authorized Name: ______________________________ (signature)

Date: ______________                                             ______________________________ (print)

                           Thank you for this opportunity to serve your company


CONTACT INFORMATION:

Prepared by: Derek Dobbs Phone: +1-407-961-9262                   Email: Derek.Dobbs@RingPower.Com                 Fax:


JOB SITE:           -

-This estimate is made subject to buyer's acceptance within (10) ten days from this date
-All prices are subject to change without notice, and those in effect on date of shipment shall prevail
-Terms are Net 30 Days from receipt of invoice
-Estimate excludes sales tax, incoming freight, environmental and additional charges for parts/labor not included in the above mentioned.
-Customer will be contacted should estimate exceed 10%


THIS WORK ORDER IS SUBJECT TO THE FOLLOWING TERMS AND CONDITIONS:

1. AUTHORITY TO PERFORM REPAIRS It is understood that, "upon receipt" of any item of equipment for repair, maintenance or other work, Ring Power may
examine the item of equipment as to work which Ring Power may suggest to be performed in addition to whatever work, if any, might have been requested by
customer. All work (requested by customer or suggested by Ring Power) to be noted on a form as supplied by Ring Power.
    a. Time and Material Work - Ring Power will proceed with the work agreed upon at current labor and parts prices.
    b. Firm Price - If requested, a firm price in writing will be given to the customer for labor and/or parts to do specific repair. Any agreed a upon repair order not
    covered by a firm written quotation will be billed at current time and material prices
    c. Unforeseen Problems or Additional Repairs. In the event that during the course of the Work, additional repair work is found to be necessary pursuant to
    Ring Power's examina ion and inspection of the Equipment, then in such event Ring Power will attempt to communicate with the Customer as to the additional
    repair work; provided, however, that in the event Ring Power is unable to communicate wi h the Customer, then Ring Power, at its sole discretion, shall have
    the absolute right to cease any and all repairs on the Equipment until such time as the additional repairs are discussed with the Customer. In the event the
    Customer consents to the additional repairs, Ring Power shall have the right to proceed with the repair of the same without further communication with the
    Customer and any and all additional repairs will be charged to he Customer at current time and material prices.

2. HOLD HARMLESS AGREEMENT FOR CUSTOMER PARTICIPATION IN SERVICE WORK - In the event customer or customers' personnel assists our
mechanics in performing service work, customer agrees to hold harmless and fully indemnify Ring Power for injuries or damages to anyone arising out of customer
assisting Ring Power personnel in servicing or repairing customer's equipment.

3. WARRANTY INFORMATION - Ring Power warrants the work performed to be free from defects in material and workmanship for a period of ninety days. Ring
Power's obligation under this warranty shall be limited to he repair or replacement at Ring Power's premises of hose new parts previously installed or labor
previously performed demonstrated to be defective. SUCH REMEDY SHALL CONSTITUTE CUSTOMER'S SOLE AND EXCLUSIVE REMEDY AND CUSTOMER
HEREBY AGREES THAT NO OTHER REMEDY (INCLUDING, BUT NOT LIMITED TO CLAIMS FOR INCIDENTAL, CONSEQUENTIAL OR SPECIAL DAMAGES,
OR ANY CAUSE, LOSS, ACTION, CLAIM OR DAMAGE, INCLUDING LOSS OF TIME, WHATSOEVER, OR INJURY TO PERSON OR PROPERTY OR ANY
OTHER CONSEQUENTIAL DAMAGE OR INCIDENTAL OR ECONOMIC LOSS) SHALL BE AVAILABLE TO CUSTOMER. THIS WARRANTY IS EXPRESSLY IN
LIEU OF ALL OTHER WARRANTIES, EXPRESS OR IMPLIED, INCLUDING ANY WARRANTIES OR MERCHANTABILITY AND FITNESS FOR A PARTICULAR
PURPOSE. SUBSTANDARD REPAIR WORK MAY BE PERFORMED UPON REQUEST OF CUSTOMER AND ACCORDING TO CUSTOMER'S INSTRUCTIONS
BUT SUCH WORK WILL CARRY ABSOLUTELY NO WARRANTY WHATSOEVER. CUSTOMER FURTHER ACKNOWLEDGES AND AGREES THAT NO VERBAL
CONTRACTS, AGREEMENTS OR WARRANTIES OTHER THAN WHAT IS SET FORTH HEREIN HAVE BEEN RECEIVED OR GIVEN.

4. PAYMENT - Customer will make payment for services rendered by Ring Power pursuant to this work order at such imes and in such manner as may be
prescribed by Ring Power. In the event of nonpayment by a customer, the cost incurred by Ring Power in collecting the indebtedness, including attorney's fees and
expenses, both in the trial court and on any and all appeals, with interest at the maximum rate allowed by law from date of expenditure, shall be added to the
principal amount of the indebtedness owed to Ring Power. These provisions are not exclusive and Ring Power may elect other remedies at law and at equity.

5. RISK OF LOSS - Ring Power carries an Equipment Floater Insurance Policy covering all risk (except war, wear and tear, etc ) for the current value (replacement
cost less deprecia ion) on customer's equipment in Ring Power's custody or control. All risk of loss and damage not covered in above policy shall be borne solely by
its owner.

6. SEVERABILITY CLAUSE - Any provisions of this Agreement found to be prohibited by law shall be immediately ineffective to the extent of such prohibition
without invalidating the rest of this Agreement.

7. APPLICABLE LAW - This Agreement shall be deemed to be governed by the laws of the State of Florida.




MY LADY MAY                                                                                   86357 - 1                                                Page 3
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    Case 22-50073
REPLACE      ENGINE OIL AND  Doc OIL
                                   930FILTERS
                                            Filed 10/07/22 Entered   10/07/22 09:24:46       Page 15 of 54
REPLACE FUEL FILTERS
REPLACE RACOR SEPARATORS (2)
INSPECT RAW WATER IMPELLER (IF APPLICABLE)
PERFORM DOCKSIDE FUNCTION TEST
REPLACE CCV FUMES DISPOSAL FILTER ELEMENT (2)
REPLACE RAW WATER IMPELLER (EXCLUDING BRASS)
REPLACE OIL AND FILTER ON MARINE GEAR
OBTAIN LEVEL 2 COOLANT SAMPLE
REPLACE ENGINE BELTS
CHECK/ADJUST VALVE LASH
REPLACE THERMOSTATS
**************************************************
CUSTOMER TO SUPPLY ALL FLUIDS, FILTERS, AND PARTS
WITH THE EXCEPTION OF THE FOLLOWING:
- ZINC ANODES
- COOLING SYSTEM TEMP. REGULATOR

                                                                 Total Estimated Parts:                  250.00
                                                                 Total Estimated Labor:                3,614.00

                                                                         Segment 02 Total:             3,864.00



CLEAN AND TEST HEAT EXCHANGER
NOTES:
HEAT EXCHANGER WILL BE REMOVED AND SENT OUT TO BE
CLEANED AND TESTED, THEN WILL BE RE-INSTALLED.
-IF ANY ITEMS ARE FOUND TO NOT MEET CAT REUSE
GUIDELINES AN ESTIMATE WILL BE PREPARED FOR
APPROVAL.


                                                                         Segment 03 Total:             5,999.00



CLEAN AND TEST AFTERCOOLER CORE
NOTES:
AFTERCOOLER CORE TO REMOVED AND SENT OUT TO BE
CLEANED AND TESTED, THEN REINSTALLED.
-ANY ITEMS FOUND TO NOT MEET CAT REUSE GUIDELINES
WILL BE QUOTED.


                                                                         Segment 04 Total:             3,616.00
                                                                          Total Segments:            15,279.00
ENVIRONMENTAL/MISCELLANEOUS                                                                                 300.00
SUB TOTAL (BEFORE TAXES)                                                                             15,579.00
TOTAL ESTIMATE                                                                                       15,579.00




MY LADY MAY                                                  86346 - 1                             Page 2
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I hereby authorize the above repair work to be done along with the necessary materials. Ring Power Corporation
and it's employees may operate above equipment for purposes of testing. Inspection or delivery at my risk. An
expressed mechanics lien is acknowledged on equipment to secure the cost of all repairs thereto. Ring Power
Corporation is not responsible for loss or damage to equipment in case of fire, theft, accident, or any other cause
beyond our control. Replaced parts will be held for a period of ten days after work completion. The cost of labor and
parts in determining any estimate shall be borne by the customer.


PO#: ______________                   Authorized Name: ______________________________ (signature)

Date: ______________                                             ______________________________ (print)

                           Thank you for this opportunity to serve your company


CONTACT INFORMATION:

Prepared by: Derek Dobbs Phone: +1-407-961-9262                   Email: Derek.Dobbs@RingPower.Com                 Fax:


JOB SITE:           -

-This estimate is made subject to buyer's acceptance within (10) ten days from this date
-All prices are subject to change without notice, and those in effect on date of shipment shall prevail
-Terms are Net 30 Days from receipt of invoice
-Estimate excludes sales tax, incoming freight, environmental and additional charges for parts/labor not included in the above mentioned.
-Customer will be contacted should estimate exceed 10%


THIS WORK ORDER IS SUBJECT TO THE FOLLOWING TERMS AND CONDITIONS:

1. AUTHORITY TO PERFORM REPAIRS It is understood that, "upon receipt" of any item of equipment for repair, maintenance or other work, Ring Power may
examine the item of equipment as to work which Ring Power may suggest to be performed in addition to whatever work, if any, might have been requested by
customer. All work (requested by customer or suggested by Ring Power) to be noted on a form as supplied by Ring Power.
    a. Time and Material Work - Ring Power will proceed with the work agreed upon at current labor and parts prices.
    b. Firm Price - If requested, a firm price in writing will be given to the customer for labor and/or parts to do specific repair. Any agreed a upon repair order not
    covered by a firm written quotation will be billed at current time and material prices
    c. Unforeseen Problems or Additional Repairs. In the event that during the course of the Work, additional repair work is found to be necessary pursuant to
    Ring Power's examina ion and inspection of the Equipment, then in such event Ring Power will attempt to communicate with the Customer as to the additional
    repair work; provided, however, that in the event Ring Power is unable to communicate wi h the Customer, then Ring Power, at its sole discretion, shall have
    the absolute right to cease any and all repairs on the Equipment until such time as the additional repairs are discussed with the Customer. In the event the
    Customer consents to the additional repairs, Ring Power shall have the right to proceed with the repair of the same without further communication with the
    Customer and any and all additional repairs will be charged to he Customer at current time and material prices.

2. HOLD HARMLESS AGREEMENT FOR CUSTOMER PARTICIPATION IN SERVICE WORK - In the event customer or customers' personnel assists our
mechanics in performing service work, customer agrees to hold harmless and fully indemnify Ring Power for injuries or damages to anyone arising out of customer
assisting Ring Power personnel in servicing or repairing customer's equipment.

3. WARRANTY INFORMATION - Ring Power warrants the work performed to be free from defects in material and workmanship for a period of ninety days. Ring
Power's obligation under this warranty shall be limited to he repair or replacement at Ring Power's premises of hose new parts previously installed or labor
previously performed demonstrated to be defective. SUCH REMEDY SHALL CONSTITUTE CUSTOMER'S SOLE AND EXCLUSIVE REMEDY AND CUSTOMER
HEREBY AGREES THAT NO OTHER REMEDY (INCLUDING, BUT NOT LIMITED TO CLAIMS FOR INCIDENTAL, CONSEQUENTIAL OR SPECIAL DAMAGES,
OR ANY CAUSE, LOSS, ACTION, CLAIM OR DAMAGE, INCLUDING LOSS OF TIME, WHATSOEVER, OR INJURY TO PERSON OR PROPERTY OR ANY
OTHER CONSEQUENTIAL DAMAGE OR INCIDENTAL OR ECONOMIC LOSS) SHALL BE AVAILABLE TO CUSTOMER. THIS WARRANTY IS EXPRESSLY IN
LIEU OF ALL OTHER WARRANTIES, EXPRESS OR IMPLIED, INCLUDING ANY WARRANTIES OR MERCHANTABILITY AND FITNESS FOR A PARTICULAR
PURPOSE. SUBSTANDARD REPAIR WORK MAY BE PERFORMED UPON REQUEST OF CUSTOMER AND ACCORDING TO CUSTOMER'S INSTRUCTIONS
BUT SUCH WORK WILL CARRY ABSOLUTELY NO WARRANTY WHATSOEVER. CUSTOMER FURTHER ACKNOWLEDGES AND AGREES THAT NO VERBAL
CONTRACTS, AGREEMENTS OR WARRANTIES OTHER THAN WHAT IS SET FORTH HEREIN HAVE BEEN RECEIVED OR GIVEN.

4. PAYMENT - Customer will make payment for services rendered by Ring Power pursuant to this work order at such imes and in such manner as may be
prescribed by Ring Power. In the event of nonpayment by a customer, the cost incurred by Ring Power in collecting the indebtedness, including attorney's fees and
expenses, both in the trial court and on any and all appeals, with interest at the maximum rate allowed by law from date of expenditure, shall be added to the
principal amount of the indebtedness owed to Ring Power. These provisions are not exclusive and Ring Power may elect other remedies at law and at equity.

5. RISK OF LOSS - Ring Power carries an Equipment Floater Insurance Policy covering all risk (except war, wear and tear, etc ) for the current value (replacement
cost less deprecia ion) on customer's equipment in Ring Power's custody or control. All risk of loss and damage not covered in above policy shall be borne solely by
its owner.

6. SEVERABILITY CLAUSE - Any provisions of this Agreement found to be prohibited by law shall be immediately ineffective to the extent of such prohibition
without invalidating the rest of this Agreement.

7. APPLICABLE LAW - This Agreement shall be deemed to be governed by the laws of the State of Florida.




MY LADY MAY                                                                                   86346 - 1                                                Page 3
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    Case 22-50073
REPLACE      REAR HOUSING    DocGASKETS
                                   930 Filed  AND10/07/22   Entered 10/07/22
                                                   SEALS THEN                  09:24:46      Page 19 of 54
REINSTALL ON ENGINE.
CAMSHAFT DRIVE GEARS WILL HAVE TO BE REMOVED TO
REPLACE FUEL PUMP DRIVE GEAR - THIS WILL INCLUDE
VALVE COVER REMOVAL AND ROCKER SHAFT ASSEMBLIES
LOOSENED TO ALLOW CAMSHAFT GEAR TIMING, VALVES AND
 INJECTORS WILL BE READJUSTED DURING REPAIRS AS
NEEDED.
REINSTALL REAR CRANKSHAFT SEAL AND REINSTALL
FLYWHEEL AND TORQUE ALL FASTENERS TO SPECS.
CLEAN AND THEN REINSTALL ENGINE OIL PAN WITH NEW
GASKETS AND FILL WITH OIL.
INSTALL NEW FUEL AND OIL FILTERS ALONG WITH NEW
FUEL TRANSFER PUMP AND REATTACH ALL FUEL LINES.
AIR LINES REMOVED BEFORE OUR ARRIVAL WILL BE
REINSTALLED WITH NEW SEALS AS WELL AS ANY TURBO
BRACKETS AND LINES REMOVED FOR REPAIR.
CUSTOMER WILL HAVE GEAR OR ENGINE RIGGED BACK INTO
 PLACE AND ALIGNMENT CHECKED.
VESSEL WILL THEN BE SEA TRIALED FOR TWO HOURS TO
ENSURE PROPER REPAIRS AND NO LEAKS.
ALL REPAIRS COMPLETE AND ENGINE ROOM CLEAN AS
BEFORE REPAIRS BEGAN, CUSTOMER HAPPY.
TRAVEL TO FLORIDA AND FINALIZE ALL PAPER WORK AND
TOOLS.
**************************************************
AFTER ENGINE INSPECTION WE WILL PROVIDE REPORT OF
FINDINGS AND A QUOTE FOR ANY ADDITIONAL ITEMS
NEEDED WILL BE PROVIDED FOR APPROVAL.
**************************************************
CUSTOMER IS RESPONSIBLE FOR THE FOLLOWING:
-CLEAR ACCESS TO ENGINES AND BOAT DURING SERVICES
-JOB SITE DELAYS BEYOND RING POWER'S CONTROL
-INSPECTED ITEMS NOT MEETING CAT REUSE GUIDELINES
-FREIGHT/SHIPPING CHARGES IF APPLICABLE


Part Number   Description                     Qty            Unit Sell    Unit Disc       Unit Price       Ext Price
0315085       BOLT                            6.00              5.74                          5.74            34.44
0619455       SEAL                            1.00             14.18                         14.18            14.18
0R8210        PUMP GP                         1.00            801.60                        801.60           801.60
0R8210        CORE                            1.00          1,167.62                      1,167.62             0.00
1011365       PLATE THRUST                    1.00             36.17                         36.17            36.17
1025861       PLATE THRUST                    2.00             60.98                         60.98           121.96
1090076       SEAL O RING                     4.00              9.98                          9.98            39.92
1123540       SEAL O RING                     2.00             11.93                         11.93            23.86
113-5304      SEAL                            1.00             21.89                         21.89            21.89
1142687       SEAL-O-RING                     2.00              5.46                          5.46            10.92
1178801       SEAL O RING                     2.00             25.84                         25.84            51.68
1305694       SEAL-O-RING                     4.00             32.06                         32.06           128.24
136-7227      SEAL O RING                     2.00              6.61                          6.61            13.22
1425868       SEAL GP-CSHF                    1.00            107.16                        107.16           107.16
1808424       SEAL-O-RING                     6.00              1.22                          1.22             7.32
1851497       GEAR AS-IDLE                    1.00          1,042.95                      1,042.95         1,042.95
2054831       SEAL-O-RING                     2.00              1.82                          1.82             3.64
20R0967       PUMP GP F                       1.00            466.89                        466.89           466.89
20R0967       CORE                            1.00            176.31                        176.31             0.00




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   Case
2241214    22-50073  Doc 930
             GEAR AS-CRAN      Filed 10/07/22
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                                                   1,235.38                 Page 20 of1,235.38
                                                                                        54
2241215       STUBSHAFT               1.00           750.28                  750.28         750.28
2241219       STUBSHAFT               1.00           331.74                  331.74         331.74
2241220       PLATE                   1.00            80.24                   80.24          80.24
2241221       STUBSHAFT               1.00           369.30                  369.30         369.30
2249657       ADAPTER AS.             2.00           163.09                  163.09         326.18
2251242       GASKET                  1.00           148.54                  148.54         148.54
2264753       GASKET                  2.00             3.58                    3.58           7.16
2275538       SEAL-O-RING             6.00            34.21                   34.21         205.26
2287090       SEAL-O-RING             2.00             5.38                    5.38          10.76
2306202       GEAR AS                 1.00         1,288.05                1,288.05       1,288.05
2314708       SEAL-O-RING             2.00             2.81                    2.81           5.62
2348937       SEAL-INTEGRA            2.00            13.58                   13.58          27.16
2361525       SEAL-INTEGRA            1.00           670.39                  670.39         670.39
2453804       BOLT-HEX HEA            1.00             2.38                    2.38           2.38
2556863       GASKET                  2.00           110.83                  110.83         221.66
2804155       SEAL-INTEGRA            1.00            41.86                   41.86          41.86
2804155       SEAL-INTEGRA            1.00            41.86                   41.86          41.86
3316185       GEAR AS-IDLE            1.00         1,735.83                1,735.83       1,735.83
3316188       GEAR AS-CAMS            2.00           712.87                  712.87       1,425.74
3430793       GASKET                  2.00            90.18                   90.18         180.36
3890433       FILTER-FUEL             2.00            72.80                   72.80         145.60
3890434       FILTER LUBE             2.00            41.08                   41.08          82.16
3B1915        BOLT                    2.00             0.69                    0.69           1.38
3E6773        SEAL O RING             2.00            24.68                   24.68          49.36
428-9129      GASKET                  2.00            61.47                   61.47         122.94
4289129       GASKET                  2.00            61.47                   61.47         122.94
4755915       PLATE-SEALIN            2.00           321.56                  321.56         643.12
4N0848        SLEEVE                  1.00            39.10                   39.10          39.10
4N0913        SCREEN                  1.00            60.12                   60.12          60.12
4P-4460       GASKET                  2.00             1.09                    1.09           2.18
5024034       SEAL-O-RING             1.00            29.50                   29.50          29.50
5B0213        BOLT                    6.00             1.10                    1.10           6.60
5E8771        O RING                  2.00            23.98                   23.98          47.96
5M2894        WASHER                  2.00             0.43                    0.43           0.86
5P4255        BOLT                    4.00             0.61                    0.61           2.44
5P5846        SEAL O RING             1.00            17.55                   17.55          17.55
5P7701        SEAL                    1.00             9.05                    9.05           9.05
5P7814        SEAL                    2.00             4.41                    4.41           8.82
5P7815        SEAL-O-RING             1.00            10.59                   10.59          10.59
5P8068        SEAL                    4.00            16.36                   16.36          65.44
5P8068        SEAL                    1.00            16.36                   16.36          16.36
6V3250        SEAL O RING             4.00             1.26                    1.26           5.04
6V3830        SEAL O RING             1.00            15.29                   15.29          15.29
6V3917        SEAL O RING             4.00            33.07                   33.07         132.28
6V5050        SEAL-O RING             2.00             7.77                    7.77          15.54
6V5063        SEAL O RING             1.00             1.88                    1.88           1.88
6V5064        SEAL O RING             1.00             2.12                    2.12           2.12
6V6609        SEAL                    4.00             1.40                    1.40           5.60
6V9027        SEAL-O-RING             1.00             1.10                    1.10           1.10



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   Case
7B3235    22-50073  Doc 930
            CAP SCREW         Filed 10/07/22
                                      12.00    Entered1.15
                                                       10/07/22 09:24:46           Page
                                                                                    1.15 21 of 54
                                                                                                13.80
7B3235        CAP SCREW              8.00             1.15                          1.15          9.20
7C0307        GASKET                 4.00             1.62                          1.62          6.48
7J2036        SEAL O RING            2.00             3.07                          3.07          6.14
7M7273        GASKET                 2.00            11.86                         11.86         23.72
7N7559        GASKET                 2.00             1.33                          1.33          2.66
7N7628        GASKET                 8.00             1.61                          1.61         12.88
8C3089        SEAL FACE              1.00            17.43                         17.43         17.43
8L2786        O RING                 3.00             5.88                          5.88         17.64
9H8872        GASKET                 1.00             2.90                          2.90          2.90
                                                       Total Estimated Parts:                14,807.56
                                                      Total Estimated Labor:                 59,280.00
                                                       Total Estimated Misc:                  1,500.00

                                                               Segment 02 Total:             75,587.56
                                                                Total Segments:              93,519.56
ENVIRONMENTAL/MISCELLANEOUS                                                                         300.00
SUB TOTAL (BEFORE TAXES)                                                                     93,819.56
TOTAL ESTIMATE                                                                               93,819.56




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I hereby authorize the above repair work to be done along with the necessary materials. Ring Power Corporation
and it's employees may operate above equipment for purposes of testing. Inspection or delivery at my risk. An
expressed mechanics lien is acknowledged on equipment to secure the cost of all repairs thereto. Ring Power
Corporation is not responsible for loss or damage to equipment in case of fire, theft, accident, or any other cause
beyond our control. Replaced parts will be held for a period of ten days after work completion. The cost of labor and
parts in determining any estimate shall be borne by the customer.


PO#: ______________                   Authorized Name: ______________________________ (signature)

Date: ______________                                             ______________________________ (print)

                           Thank you for this opportunity to serve your company


CONTACT INFORMATION:

Prepared by: Derek Dobbs Phone: +1-407-961-9262                   Email: Derek.Dobbs@RingPower.Com                 Fax:


JOB SITE:           - BRIDGEPORT CONNECTICUT

-This estimate is made subject to buyer's acceptance within (10) ten days from this date
-All prices are subject to change without notice, and those in effect on date of shipment shall prevail
-Terms are Net 30 Days from receipt of invoice
-Estimate excludes sales tax, incoming freight, environmental and additional charges for parts/labor not included in the above mentioned.
-Customer will be contacted should estimate exceed 10%


THIS WORK ORDER IS SUBJECT TO THE FOLLOWING TERMS AND CONDITIONS:

1. AUTHORITY TO PERFORM REPAIRS It is understood that, "upon receipt" of any item of equipment for repair, maintenance or other work, Ring Power may
examine the item of equipment as to work which Ring Power may suggest to be performed in addition to whatever work, if any, might have been requested by
customer. All work (requested by customer or suggested by Ring Power) to be noted on a form as supplied by Ring Power.
    a. Time and Material Work - Ring Power will proceed wi h the work agreed upon at current labor and parts prices.
    b. Firm Price - If requested, a firm price in writing will be given to the customer for labor and/or parts to do specific repair. Any agreed a upon repair order not
    covered by a firm written quotation will be billed at current time and material prices
    c. Unforeseen Problems or Additional Repairs. In the event that during the course of the Work, addi ional repair work is found to be necessary pursuant to
    Ring Power's examina ion and inspection of the Equipment, then in such event Ring Power will attempt to communicate with the Customer as to the additional
    repair work; provided, however, that in the event Ring Power is unable to communicate wi h the Customer, then Ring Power, at its sole discretion, shall have
    the absolute right to cease any and all repairs on the Equipment until such time as the additional repairs are discussed with the Customer. In the event the
    Customer consents to the additional repairs, Ring Power shall have the right to proceed with the repair of the same without further communication with the
    Customer and any and all additional repairs will be charged to he Customer at current time and material prices.

2. HOLD HARMLESS AGREEMENT FOR CUSTOMER PARTICIPATION IN SERVICE WORK- In the event customer or customers' personnel assists our
mechanics in performing service work, customer agrees to hold harmless and fully indemnify Ring Power for injuries or damages to anyone arising out of customer
assisting Ring Power personnel in servicing or repairing customer's equipment.

3. WARRANTY INFORMATION - Ring Power warrants the work performed to be free from defects in material and workmanship for a period of ninety days. Ring
Power's obligation under this warranty shall be limited to he repair or replacement at Ring Power's premises of hose new parts previously installed or labor
previously performed demonstrated to be defective. SUCH REMEDY SHALL CONSTITUTE CUSTOMER'S SOLE AND EXCLUSIVE REMEDY AND CUSTOMER
HEREBY AGREES THAT NO OTHER REMEDY (INCLUDING, BUT NOT LIMITED TO CLAIMS FOR INCIDENTAL, CONSEQUENTIAL OR SPECIAL DAMAGES,
OR ANY CAUSE, LOSS, ACTION, CLAIM OR DAMAGE, INCLUDING LOSS OF TIME, WHATSOEVER, OR INJURY TO PERSON OR PROPERTY OR ANY
OTHER CONSEQUENTIAL DAMAGE OR INCIDENTAL OR ECONOMIC LOSS) SHALL BE AVAILABLE TO CUSTOMER. THIS WARRANTY IS EXPRESSLY IN
LIEU OF ALL OTHER WARRANTIES, EXPRESS OR IMPLIED, INCLUDING ANY WARRANTIES OR MERCHANTABILITY AND FITNESS FOR A PARTICULAR
PURPOSE. SUBSTANDARD REPAIR WORK MAY BE PERFORMED UPON REQUEST OF CUSTOMER AND ACCORDING TO CUSTOMER'S INSTRUCTIONS
BUT SUCH WORK WILL CARRY ABSOLUTELY NO WARRANTY WHATSOEVER. CUSTOMER FURTHER ACKNOWLEDGES AND AGREES THAT NO VERBAL
CONTRACTS, AGREEMENTS OR WARRANTIES OTHER THAN WHAT IS SET FORTH HEREIN HAVE BEEN RECEIVED OR GIVEN.

4. PAYMENT - Customer will make payment for services rendered by Ring Power pursuant to this work order at such imes and in such manner as may be
prescribed by Ring Power. In the event of nonpayment by a customer, the cost incurred by Ring Power in collecting the indebtedness, including attorney's fees and
expenses, both in the trial court and on any and all appeals, with interest at the maximum rate allowed by law from date of expenditure, shall be added to the
principal amount of the indebtedness owed to Ring Power. These provisions are not exclusive and Ring Power may elect other remedies at law and at equity.

5. RISK OF LOSS - Ring Power carries an Equipment Floater Insurance Policy covering all risk (except war, wear and tear, etc ) for the current value (replacement
cost less deprecia ion) on customer's equipment in Ring Power's custody or control. All risk of loss and damage not covered in above policy shall be borne solely by
its owner.

6. SEVERABILITY CLAUSE - Any provisions of this Agreement found to be prohibited by law shall be immediately ineffective to the extent of such prohibition
without invalidating the rest of this Agreement.

7. APPLICABLE LAW - This Agreement shall be deemed to be governed by the laws of the State of Florida.




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 Br dgeport Boatworks
 731 Seavew Ave
 Br dgeport, CT 06607
 Un ted States
 (860) 536 9651




                                                                                                            B ge Board Rep acement 2022
                                                                                                                                ID: 6234


    Contact                                                      Vessel
    L oyd Benard                                                 Lady May
    capta n@yacht adymay.com                                     D mens ons: 151 ' x 32 ' x 7 '
    1 3057994799                                                 Make: Feadsh p
                                                                 We ght: 0


 1. Bilge Board Replacem ent                                                                                                  $2,280.76
 Comments: 1. Temp ate Ex st ng Starboard Board
 2. Beve a Edges
 3. Cut out Ho es for ft po nts and beve edge
 Labor                                                                    Rate                     Qty                              Total
         Subcontractor Labor BB                                           $2,193.04 F at Fee                    1           $2,193.04 N
         Comments: 1. Temp ate Ex st ng Starboard Board
         2. Beve a Edges
         3. Cut out Ho es for ft po nts and beve edges
         Lead T me 2 Weeks
         **Co or may d ffer s ght y from or g na Co or**
 Charge                                                                                           Qty
                                                                          Rate                                                      Total

         Env ronmenta & Safety Fee BB                                     4% (Parts and Labor)              1                  $87.72 N

          Labor                  Parts                  Charges                   Subtotal                Tax               Total
      $2,193.04                  $0.00                  $87.72                   $2,280.76               $0.00           $2,280.76


     Terms and Conditions
     We are pleased to provde th s Est mate for repa r work on your vessel.


     Th s Budgetary Est mate s based upon our nspect on of your vessel, nformat on that you have provded to us, and
     our exper ence regard ng s m lar vessels and work. t s poss ble that defect ve parts or other ssues w th
     your vessel w ll be d scovered after our work has begun and, for these reasons, th s Est mate does not
     nclude add t onal parts or labor that may be requ red after the job has begun. We w ll not fy you of any
     such ssues f they should ar se. Tax, Envronental and Subcontractor charges may be add t onal f appl cable.


     The pr c ng set forth n th s Est mate s based on the assumpt ons, exclus ons and scope of work set forth
     here n, and s val d for fourteen (14) days from the date of the Est mate.


     Your accep ance of th s Est mate s subject to the terms and cond t ons at ached hereto as Exh b t A.
     A 50% depos t of the Est mate total s requ red at the t me of approval, w th the balance and any add t onal
     charges due upon complet on.
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   agreement by the part es n wr t ng.


   4. Warranty: Br dgeport Boatworks warrants that the Servces shall be performed us ng personnel of
   requ red sk ll, exper ence and qual f cat ons n a profess onal and workmanl ke manner. Other than as
   set forth here n, Br dgeport Boatworks makes no warrant es regard ng workmansh p or mater als,
   e ther express or mpl ed, nclud ng any mpl ed warranty or merchan ab l ty, f tness for a part cular
   purpose or seaworth ness.


   5. Fees and Costs: Owner shall re mburse Br dgeport Boatworks for all costs ncurred n collect ng any
   late payments, nclud ng, w thout l m tat on, attorneys’ fees. n add t on to all other remed es
   ava lable under th s Agreement or at law (wh ch Br dgeport Boatworks does not wa ve by the
   exerc se of any r ghts hereunder), Br dgeport Boatworks shall be ent led to suspend the del very of
   any goods or performance of any servces hereunder f the Owner fa ls to pay any amounts when due
   hereunder.


   6. L ab l ty of Br dgeport Boatworks: Br dgeport Boatworks shall have no l ab l ty for any matters
   ar s ng out of or related to th s Agreement except to the extent caused by the sole negl gence of
   Br dgeport Boatworks or those for whom t s d rectly respons ble. n no event shall Br dgeport
   Boatworks’ l ab l ty for any matters ar s ng out of or related to th s Agreement exceed the fee pa d to
   Br dgeport Boatworks under th s Agreement. No pr nc pal, partner, member, d rector, off cer, agent,
   servant, employee, or consultant of Br dgeport Boatworks shall have any personal l ab l ty relat ng to
   the subject matter of th s Agreement.


   7. nsurance: Owner shall at all t mes ma n a n adequate and customary nsurance cover ng the Vessel
   for the durat on of the Servces, nclud ng wh le the Vessel s n the custody and/or control of
   Br dgeport Boatworks. Owner and Br dgeport Boatworks each hereby wa ve the r ent re r ght of
   recovery aga nst the other for njury, loss, or damage to the extent covered by nsurance proceeds
   rece ved by the damaged party. All pol c es requ red hereunder shall provde that the respect ve
   carr er(s) wa ves all r ghts of subrogat on w th respect to losses payable under such pol c es.


   8. Term nat on: Br dgeport Boatworks shall have the r ght to term nate th s Agreement upon seven (7)
   days’ wr tten not ce n the event that Owner s n mater al breach of ts obl gat ons hereunder. n the
   event the Agreement s term nated for any reason pr or to the complet on of the Servces, then, n
   add t on to the re mbursable expenses deta led here n, Owner shall pay to Br dgeport Boatworks the
   balance of the rema n ng fee as of the date of term nat on, represent ng payment for demob l zat on
   costs, opportun ty costs, and ant c pated lost prof t. Br dgeport Boatworks’ exerc se of ts r ghts under
   th s sect on shall not n any way l m t or abr dge other remed es ava lable to t under the Agreement
   or appl cable law, nclud ng any l en r ghts w th respect to the Vessel.


   9. Force Majeure: Br dgeport Boatworks shall not be l able or respons ble to the Owner, nor be deemed
   to have defaulted or breached th s Agreement, for any fa lure or delay n fulf ll ng or perform ng any
   term of th s Agreement when and to the extent such fa lure or delay s caused by or results from acts
   or c rcumstances beyond the reasonable control of Br dgeport Boatworks nclud ng, w thout

   l m tat on, acts of God, flood, f re, earthquake, explos on, governmental act ons, war, terror st threats
   or acts, r ot, or other c vl unrest, publ c emergency, ep dem cs or pandem cs, lockouts, str kes or
   o her labor d spu es or res ra n s or delays affec ng carr ers or nab l y or delay n ob a n ng suppl es
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   othe labo d sputes, o est a nts o delays a ect ng ca e s o nab l ty o delay n ob a n ng suppl es
   of adequate or su table mater als, mater als or telecommun cat on breakdown or power outage.


   10. General Provs ons:
   a. Owner hereby grants Br dgeport Boatworks, ts agents and employees, perm ss on to operate
   the Vessel for the purpose of test ng and/or nspect on.
   b. Owner shall remove all art cles of personal property, gear, or other appurtenances not necessary
   for the performance of the Servces from the Vessel pr or to del very of the Vessel to
   Br dgeport Boatworks. Br dgeport Boatworks shall not be respons ble for damage to or loss of
   any such art cles of personal property, gear, or other appurtenances left aboard the Vessel, due
   to f re, theft, p lferage, or otherw se. Del very of the Vessel does not const tute a ba lment of
   any art cles of personal property, gear, or other appurtenances left on the Vessel wh ch are not
   necessary for the performance of the Servces.
   c. Th s Agreement const tutes the ent re agreement between the part es hereto regard ng the
   subject matter hereof, and supersedes all pr or agreements, whether wr tten or oral.
   d. No change, mod f cat on, or amendment shall be made to th s Agreement unless set forth n
   wr t ng and s gned by the part es hereto.
   e. All express representat ons, warrant es, ndemn f cat ons, and l m ts of l ab l ty ncluded n th s
   Agreement w ll survve ts complet on or term nat on for any reason. f any provs on of th s
   Agreement shall be held nval d, llegal or unenforceable by a court of competent jur sd ct on,
   the val d ty, legal ty and enforceab l ty of the rema n ng provs ons shall n no way be affected
   or mpa red thereby. The rema n ng provs ons shall rema n n full force and effect, as f the
   unenforceable provs on had been deleted. The part es agree to replace any om tted provs on
   w th a val d provs on that comes as close as poss ble to the ntent of the om tted provs on.
   f. Th s Agreement shall be governed by and construed under the laws of the state n wh ch the
   Servces are performed, w thout regard to ts confl cts of laws pr nc ples.
   g. Br dgeport Boatworks and Owner w ll f rst attempt to resolve d sputes or d sagreements
   through d scuss ons between the r respect ve representat ves, who shall meet upon the request
   of e ther party as soon as conven ently poss ble to attempt to resolve such d spute or
   d sagreement. f after meet ng, the representat ves determ ne that the d spute or d sagreement
   cannot be resolved on terms sat sfactory to both part es, the part es shall subm t the d spute or
   d sagreement to non b nd ng med at on. The med at on shall be conducted by a mutually
   agreeable mpart al med ator, or f the part es cannot so agree, a med ator des gnated by the
   Amer can Arb trat on Assoc at on (“AAA”). f a d spute has not been resolved n accordance
   w th the procedures set forth above, such d sputes shall be dec ded by arb trat on n accordance
   w th the appl cable AAA rules then n effect, unless the part es mutually agree otherw se. The
   award of the arb trator(s) shall be f nal and b nd ng upon the part es w thout the r ght of appeal
   to the courts. Judgment may be entered upon t n accordance w th appl cable law by any court
   havng jur sd ct on thereof.




   Notice

   Th s est mate s not an nvo ce and does not represent the f na amount due or the ba ance on th s est mate.


   For quest ons or concerns, p ease ca Br dgeport Boatworks at (860) 536-9651.
Case 22-50073              Doc 930           Filed 10/07/22              Entered 10/07/22 09:24:46                    Page 28 of 54
 Br dgeport Boatworks
 731 Seavew Ave
 Br dgeport, CT 06607
 Un ted States
 (860) 536 9651




                                                                                          LADY MAY- BOW REPAINT ESTIMATE 2022
                                                                                                                            ID: 6235


    Contact                                                    Vessel
    L oyd Benard                                               Lady May
    capta n@yacht adymay.com                                   D mens ons: 151 ' x 32 ' x 7 '
    1 3057994799                                               Make: Feadsh p
                                                               We ght: 0


    Est mate Comments
    Th s s the budgetary est mate for the yard per od for the 152' motor vesse LADY MAY.
    Th s est mate s subject to the Nava Arch tect / Pre-Hau Eng neer ng Eva uat on, to determ ne f th s vesse can
    be safe y fted w th Br dgeport Boatworks Mar ne Trave ft.
    Th s est mate does not nc ude CT Sa es Tax.

    A depos t of $4576.00 s requested to secure est mated abor.

 1. Paint Correction on Bow of Vessel                                                                                     $9,152.00
 Comments: Th s s the budgetary est mate for the yard per od for the 152' motor vesse LADY MAY.
 Th s est mate s subject to the Nava Arch tect / Pre-Hau Eng neer ng Eva uat on, to determ ne f th s vesse can be safe y
  fted w th Br dgeport Boatworks Mar ne Trave ft.
 1. Th s est mate does not nc ude CT Sa es Tax. 2. Th s est mate does not nc ude man fts.
 3. Th s est mate s based on vesse be ng out of the water.
 Labor                                                                  Rate                    Qty                             Total
         Subcontractor Labor BB                               $2,800.00 F at Fee                          1             $2,800.00 N
         Comments: Prep, gr nd, f & fa r b ster repa r. App y
         h gh bu d, sand and app y 545.
         C ean and app y meta c top coat (TBD).
         Subcontractor Labor BB                                         $5,000.00 F at Fee                1             $5,000.00 N
         Comments: Tent ng and Scaffo d ng Cost


 Part                                                                                             Qty
                                                                         Rate                                                   Total

         Est mated Parts BB                                              $1,000.00                            1         $1,000.00 T

 Charge                                                                                        Qty
                                                                        Rate                                                    Total

         Env ronmenta & Safety Fee BB                                   4% (Parts and Labor)             1                $352.00 N

          Labor                 Parts                 Charges                  Subtotal                 Tax             Total
        $7,800.00             $1,000.00               $352.00                 $9,152.00               $63.50          $9,215.50


     Terms and Conditions
     We are pleased to provde th s Est mate for repa r work on your vessel.


     Th s Budgetary Est mate s based upon our nspect on of your vessel, nformat on that you have provded to us, and

     our exper ence regard ng s m lar vessels and work. t s poss ble that defect ve parts or other ssues w th
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   Owner under th s Agreement shall, after a th rty (30) day grace per od, bear nterest from the due date
   at the maxmum rate allowed by appl cable law.


   3. Change Requests: Owner may request a change to any port on of the Servces at any t me by
   subm tt ng such request n wr t ng to Br dgeport Boatworks (“Change Request”). Wth n a reasonable
   t me after rece pt of a Change Request from Owner, Br dgeport Boatworks shall evaluate the mpact
   of the Change Request and provde Owner w th a wr tten s atement sett ng forth ts est mate of the
   cost of the change. Wth n a reasonable t me after rece pt of a Change Request from Br dgeport
   Boatworks, Owner shall provde a wr tten acceptance or reject on of the Change Request. Br dgeport
   Boatworks’ fee for the Servces shall be adjusted to the extent of any ncrease n Servces, at a f xed
   amount as agreed by the part es, or f the part es do not agree to a f xed amount, on a t me and
   mater als (T&M) bas s at the rates set forth her n, or f no rates are set forth, at rates agreed by
   the part es. Br dgeport Boatworks shall not be requ red to proceed w th a change n servces absent
   agreement by the part es n wr t ng.


   4. Warranty: Br dgeport Boatworks warrants that the Servces shall be performed us ng personnel of
   requ red sk ll, exper ence and qual f cat ons n a profess onal and workmanl ke manner. Other than as
   set forth here n, Br dgeport Boatworks makes no warrant es regard ng workmansh p or mater als,
   e ther express or mpl ed, nclud ng any mpl ed warranty or merchan ab l ty, f tness for a part cular
   purpose or seaworth ness.


   5. Fees and Costs: Owner shall re mburse Br dgeport Boatworks for all costs ncurred n collect ng any
   late payments, nclud ng, w thout l m tat on, attorneys’ fees. n add t on to all other remed es
   ava lable under th s Agreement or at law (wh ch Br dgeport Boatworks does not wa ve by the
   exerc se of any r ghts hereunder), Br dgeport Boatworks shall be ent led to suspend the del very of
   any goods or performance of any servces hereunder f the Owner fa ls to pay any amounts when due
   hereunder.


   6. L ab l ty of Br dgeport Boatworks: Br dgeport Boatworks shall have no l ab l ty for any matters
   ar s ng out of or related to th s Agreement except to the extent caused by the sole negl gence of
   Br dgeport Boatworks or those for whom t s d rectly respons ble. n no event shall Br dgeport
   Boatworks’ l ab l ty for any matters ar s ng out of or related to th s Agreement exceed the fee pa d to
   Br dgeport Boatworks under th s Agreement. No pr nc pal, partner, member, d rector, off cer, agent,
   servant, employee, or consultant of Br dgeport Boatworks shall have any personal l ab l ty relat ng to
   the subject matter of th s Agreement.


   7. nsurance: Owner shall at all t mes ma n a n adequate and customary nsurance cover ng the Vessel
   for the durat on of the Servces, nclud ng wh le the Vessel s n the custody and/or control of
   Br dgeport Boatworks. Owner and Br dgeport Boatworks each hereby wa ve the r ent re r ght of
   recovery aga nst the other for njury, loss, or damage to the extent covered by nsurance proceeds
   rece ved by the damaged party. All pol c es requ red hereunder shall provde that the respect ve
   carr er(s) wa ves all r ghts of subrogat on w th respect to losses payable under such pol c es.



   8. Term nat on: Br dgeport Boatworks shall have the r ght to term nate th s Agreement upon seven (7)
   days’ wr tten not ce n the event that Owner s n mater al breach of ts obl gat ons hereunder. n the
   even he Agreemen s erm na ed for any reason pr or o he comple on of he Servces hen n
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   event the Ag eement s te m nated o any eason p o to the complet on o the Se vces, then, n
   add t on to the re mbursable expenses deta led here n, Owner shall pay to Br dgeport Boatworks the
   balance of the rema n ng fee as of the date of term nat on, represent ng payment for demob l zat on
   costs, opportun ty costs, and ant c pated lost prof t. Br dgeport Boatworks’ exerc se of ts r ghts under
   th s sect on shall not n any way l m t or abr dge other remed es ava lable to t under the Agreement
   or appl cable law, nclud ng any l en r ghts w th respect to the Vessel.


   9. Force Majeure: Br dgeport Boatworks shall not be l able or respons ble to the Owner, nor be deemed
   to have defaulted or breached th s Agreement, for any fa lure or delay n fulf ll ng or perform ng any
   term of th s Agreement when and to the extent such fa lure or delay s caused by or results from acts
   or c rcumstances beyond the reasonable control of Br dgeport Boatworks nclud ng, w thout
   l m tat on, acts of God, flood, f re, earthquake, explos on, governmental act ons, war, terror st threats
   or acts, r ot, or other c vl unrest, publ c emergency, ep dem cs or pandem cs, lockouts, str kes or
   other labor d sputes, or restra nts or delays affect ng carr ers or nab l ty or delay n ob a n ng suppl es
   of adequate or su table mater als, mater als or telecommun cat on breakdown or power outage.


   10. General Provs ons:
   a. Owner hereby grants Br dgeport Boatworks, ts agents and employees, perm ss on to operate
   the Vessel for the purpose of test ng and/or nspect on.
   b. Owner shall remove all art cles of personal property, gear, or other appurtenances not necessary
   for the performance of the Servces from the Vessel pr or to del very of the Vessel to
   Br dgeport Boatworks. Br dgeport Boatworks shall not be respons ble for damage to or loss of
   any such art cles of personal property, gear, or other appurtenances left aboard the Vessel, due
   to f re, theft, p lferage, or otherw se. Del very of the Vessel does not const tute a ba lment of
   any art cles of personal property, gear, or other appurtenances left on the Vessel wh ch are not
   necessary for the performance of the Servces.
   c. Th s Agreement const tutes the ent re agreement between the part es hereto regard ng the
   subject matter hereof, and supersedes all pr or agreements, whether wr tten or oral.
   d. No change, mod f cat on, or amendment shall be made to th s Agreement unless set forth n
   wr t ng and s gned by the part es hereto.
   e. All express representat ons, warrant es, ndemn f cat ons, and l m ts of l ab l ty ncluded n th s
   Agreement w ll survve ts complet on or term nat on for any reason. f any provs on of th s
   Agreement shall be held nval d, llegal or unenforceable by a court of competent jur sd ct on,
   the val d ty, legal ty and enforceab l ty of the rema n ng provs ons shall n no way be affected
   or mpa red thereby. The rema n ng provs ons shall rema n n full force and effect, as f the
   unenforceable provs on had been deleted. The part es agree to replace any om tted provs on
   w th a val d provs on that comes as close as poss ble to the ntent of the om tted provs on.
   f. Th s Agreement shall be governed by and construed under the laws of the state n wh ch the
   Servces are performed, w thout regard to ts confl cts of laws pr nc ples.
   g. Br dgeport Boatworks and Owner w ll f rst attempt to resolve d sputes or d sagreements
   through d scuss ons between the r respect ve representat ves, who shall meet upon the request
   of e ther party as soon as conven ently poss ble to attempt to resolve such d spute or
   d sagreement. f after meet ng, the representat ves determ ne that the d spute or d sagreement

   cannot be resolved on terms sat sfactory to both part es, the part es shall subm t the d spute or
   d sagreement to non b nd ng med at on. The med at on shall be conducted by a mutually
   agreeable mpart al med ator, or f the part es cannot so agree, a med ator des gnated by the
   A         A           A              AAA” f                                 l
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   Amer can Arb trat on Assoc at on (“AAA ). a d spute has not been resolved n accordance
   w th the procedures set forth above, such d sputes shall be dec ded by arb trat on n accordance
   w th the appl cable AAA rules then n effect, unless the part es mutually agree otherw se. The
   award of the arb trator(s) shall be f nal and b nd ng upon the part es w thout the r ght of appeal
   to the courts. Judgment may be entered upon t n accordance w th appl cable law by any court
   havng jur sd ct on thereof.




   Notice

   Th s est mate s not an nvo ce and does not represent the f na amount due or the ba ance on th s est mate.

   For quest ons or concerns, p ease ca Br dgeport Boatworks at (860) 536-9651.
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        Br dgeport Boatworks
        731 Seav ew Ave
        Br dgeport, CT 06607
        Un ted States
        (860) 536-9651




                                                                                                                      Estimate
                                                                                                        LADY MAY- AUL OUT 2022
                                                                                                                         ID: 6240


             Co
             Contact
                 act                                      Vessel
             L oyd Benard                                 Lady May
             captain@yacht adymay.com                     Dimensions: 151 x 32 x 7
             1 3057994799                                 Make: eadship
                                                          Weight: 0



             Estimate Comments
             This is the budgetary estimate for the hauling & Launching of the 151' motor yacht LADY MAY.
             A deposit of $7,000 is requested to secure estimated operations.
             This estimate does not include CT Sales Tax.

        11. 700
              0 Haul
                  ul & Launch
                        a   h Up T
                                 To 330T Or Max
                                              x 150'
                                                 50' B
                                                     BB                                                              $1
                                                                                                                     $13,117.52
                                                                                                                          17 52

        L abor                                                       Rate
                                                                      at                       Qty
                                                                                                ty                            Total
                                                                                                                                 al

                 700 au & Launch Up To 430T Max 180 BB               $55.00 Per oot            151 ft                $8,305.00 N

                 B ocking $7 Per oot BB                              $7.00 Per oot flat         151                   $1,057.00 N

                 Diver ee BB                                         $1,600.00    at ee             1                 $1,600.00 N

                 Nava Architect BB                                   $1,500.00    at ee             1                 $1,500.00 N



        P
        Partt                                                         R
                                                                      Rate
                                                                         e                          Qty
                                                                                                     t                        Total
                                                                                                                                 al

                 B ocking Materia s                                   $1.00                         151                 $151.00 N


        Ch
        Charge
            ge                                                       Ra
                                                                     Rate
                                                                        e                   Qt
                                                                                            Qty                               Total
                                                                                                                                 al

                 Environmenta & Safety ee BB                         4% (Parts and Labor)       1                       $504.52 N


                  Labo
                  Labor                Parts
                                        arts          Charg
                                                      Charges             Su
                                                                          Subtota
                                                                             t t            Tax
                                                                                             ax                      T ota
             $12,46
             $12,462.00
                     0                $151.00         $504.
                                                      $504.52           $13,117.52                                $13,117.52
                                                                                                                    3 117.5



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             have accepted these Terms upon Br dgeport Boatworks commencement of performance of the

             Serv ces or Owner s return of the s gned Agreement, wh chever s ear er



             2 Compensat on: n cons derat on of the performance by Br dgeport Boatworks of the Serv ces, Owner

             agrees to pay Br dgeport Boatworks the fee set forth n the Est mate/ nvo ce (or the port on earned) upon

             rece pt of subm ss on of Br dgeport Boatworks nvo ce or as otherw se set forth n the

             Agreement n add t on, Owner sha re mburse Br dgeport Boatworks for reasonab e expenses

                ncurred n performance of the Serv ces, nc ud ng but not m ted to trave expenses, storage charges,

             sh pp ng charges, and other reasonab e expenses ncurred n Br dgeport Boatworks performance of

             the Serv ces Owner sha pay such re mbursab e expenses upon rece pt fo ow ng Owner s

             rece pt of an nvo ce conta n ng such expenses Any amounts due to Br dgeport Boatworks from

             Owner under th s Agreement sha , after a th rty (30) day grace per od, bear nterest from the due date

             at the max mum rate a owed by app cab e aw



             3 Change Requests: Owner may request a change to any port on of the Serv ces at any t me by

             subm tt ng such request n wr t ng to Br dgeport Boatworks ( Change Request ) W th n a reasonab e

             t me after rece pt of a Change Request from Owner, Br dgeport Boatworks sha eva uate the mpact

             of the Change Request and prov de Owner w th a wr tten statement sett ng forth ts est mate of the

             cost of the change W th n a reasonab e t me after rece pt of a Change Request from Br dgeport

             Boatworks, Owner sha prov de a wr tten acceptance or reject on of the Change Request Br dgeport

             Boatworks fee for the Serv ces sha be adjusted to the extent of any ncrease n Serv ces, at a fixed

             amount as agreed by the part es, or f the part es do not agree to a fixed amount, on a t me and

             mater a s (T&M) bas s at the rates set forth her n, or f no rates are set forth, at rates agreed by

             the part es Br dgeport Boatworks sha not be requ red to proceed w th a change n serv ces absent

             agreement by the part es n wr t ng



             4 Warranty: Br dgeport Boatworks warrants that the Serv ces sha be performed us ng personne of

             requ red sk , exper ence and qua ficat ons n a profess ona and workman ke manner Other than as

             set forth here n, Br dgeport Boatworks makes no warrant es regard ng workmansh p or mater a s,

             e ther express or mp ed, nc ud ng any mp ed warranty or merchantab ty, fitness for a part cu ar

             purpose or seaworth ness



             5 Fees and Costs: Owner sha re mburse Br dgeport Boatworks for a costs ncurred n co ect ng any

                ate payments, nc ud ng, w thout m tat on, attorneys fees n add t on to a other remed es

             ava ab e under th s Agreement or at aw (wh ch Br dgeport Boatworks does not wa ve by the

             exerc se of any r ghts hereunder), Br dgeport Boatworks sha be ent t ed to suspend the de very of

             any goods or performance of any serv ces hereunder f the Owner fa s to pay any amounts when due

             hereunder



             6 L ab ty of Br dgeport Boatworks: Br dgeport Boatworks sha have no ab ty for any matters

             ar s ng out of or re ated to th s Agreement except to the extent caused by the so e neg gence of



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             Br dgeport Boatworks or those for whom t s d rect y respons b e n no event sha Br dgeport

             Boatworks     ab ty for any matters ar s ng out of or re ated to th s Agreement exceed the fee pa d to

             Br dgeport Boatworks under th s Agreement No pr nc pa , partner, member, d rector, officer, agent,

             servant, emp oyee, or consu tant of Br dgeport Boatworks sha have any persona ab ty re at ng to

             the subject matter of th s Agreement



             7 nsurance: Owner sha at a t mes ma nta n adequate and customary nsurance cover ng the Vesse

             for the durat on of the Serv ces, nc ud ng wh e the Vesse s n the custody and/or contro of

             Br dgeport Boatworks Owner and Br dgeport Boatworks each hereby wa ve the r ent re r ght of

             recovery aga nst the other for njury, oss, or damage to the extent covered by nsurance proceeds

             rece ved by the damaged party A po c es requ red hereunder sha prov de that the respect ve

             carr er(s) wa ves a r ghts of subrogat on w th respect to osses payab e under such po c es



             8 Term nat on: Br dgeport Boatworks sha have the r ght to term nate th s Agreement upon seven (7)

             days wr tten not ce n the event that Owner s n mater a breach of ts ob gat ons hereunder n the

             event the Agreement s term nated for any reason pr or to the comp et on of the Serv ces, then, n

             add t on to the re mbursab e expenses deta ed here n, Owner sha pay to Br dgeport Boatworks the

             ba ance of the rema n ng fee as of the date of term nat on, represent ng payment for demob zat on

             costs, opportun ty costs, and ant c pated ost profit Br dgeport Boatworks exerc se of ts r ghts under

             th s sect on sha not n any way m t or abr dge other remed es ava ab e to t under the Agreement

             or app cab e aw, nc ud ng any en r ghts w th respect to the Vesse



             9 Force Majeure: Br dgeport Boatworks sha not be ab e or respons b e to the Owner, nor be deemed

             to have defau ted or breached th s Agreement, for any fa ure or de ay n fu fi ng or perform ng any

             term of th s Agreement when and to the extent such fa ure or de ay s caused by or resu ts from acts

             or c rcumstances beyond the reasonab e contro of Br dgeport Boatworks nc ud ng, w thout

                m tat on, acts of God, flood, fire, earthquake, exp os on, governmenta act ons, war, terror st threats

             or acts, r ot, or other c v unrest, pub c emergency, ep dem cs or pandem cs, ockouts, str kes or

             other abor d sputes, or restra nts or de ays affect ng carr ers or nab ty or de ay n obta n ng supp es

             of adequate or su tab e mater a s, mater a s or te ecommun cat on breakdown or power outage



             10 Genera Prov s ons:

             a Owner hereby grants Br dgeport Boatworks, ts agents and emp oyees, perm ss on to operate

             the Vesse for the purpose of test ng and/or nspect on

             b Owner sha remove a art c es of persona property, gear, or other appurtenances not necessary

             for the performance of the Serv ces from the Vesse pr or to de very of the Vesse to

             Br dgeport Boatworks Br dgeport Boatworks sha not be respons b e for damage to or oss of

             any such art c es of persona property, gear, or other appurtenances eft aboard the Vesse , due

             to fire, theft, p ferage, or otherw se De very of the Vesse does not const tute a ba ment of

             any art c es of persona property, gear, or other appurtenances eft on the Vesse wh ch are not

             necessary for the performance of the Serv ces



about b an                                                                                                                               Page 4 of 5
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             c Th s Agreement const tutes the ent re agreement between the part es hereto regard ng the

             subject matter hereof, and supersedes a pr or agreements, whether wr tten or ora

             d No change, mod ficat on, or amendment sha be made to th s Agreement un ess set forth n

             wr t ng and s gned by the part es hereto

             e A express representat ons, warrant es, ndemn ficat ons, and m ts of ab ty nc uded n th s

             Agreement w surv ve ts comp et on or term nat on for any reason f any prov s on of th s

             Agreement sha be he d nva d, ega or unenforceab e by a court of competent jur sd ct on,

             the va d ty, ega ty and enforceab ty of the rema n ng prov s ons sha n no way be affected

             or mpa red thereby The rema n ng prov s ons sha rema n n fu force and effect, as f the

             unenforceab e prov s on had been de eted The part es agree to rep ace any om tted prov s on

             w th a va d prov s on that comes as c ose as poss b e to the ntent of the om tted prov s on

             f Th s Agreement sha be governed by and construed under the aws of the state n wh ch the

             Serv ces are performed, w thout regard to ts confl cts of aws pr nc p es

             g Br dgeport Boatworks and Owner w first attempt to reso ve d sputes or d sagreements

             through d scuss ons between the r respect ve representat ves, who sha meet upon the request

             of e ther party as soon as conven ent y poss b e to attempt to reso ve such d spute or

             d sagreement f after meet ng, the representat ves determ ne that the d spute or d sagreement

             cannot be reso ved on terms sat sfactory to both part es, the part es sha subm t the d spute or

             d sagreement to non-b nd ng med at on The med at on sha be conducted by a mutua y

             agreeab e mpart a med ator, or f the part es cannot so agree, a med ator des gnated by the

             Amer can Arb trat on Assoc at on ( AAA ) f a d spute has not been reso ved n accordance

             w th the procedures set forth above, such d sputes sha be dec ded by arb trat on n accordance

             w th the app cab e AAA ru es then n effect, un ess the part es mutua y agree otherw se The

             award of the arb trator(s) sha be fina and b nd ng upon the part es w thout the r ght of appea

             to the courts Judgment may be entered upon t n accordance w th app cab e aw by any court

             hav ng jur sd ct on thereof




             Notice

             This estimate is not an invoice and does not represent the final amount due or the balance on this
             estimate.

             For questions or concerns, please call Bridgeport Boatworks at (860) 536-9651.




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                                                                                                                      54         10 27 AM




        Br dgeport Boatworks
        731 Seav ew Ave
        Br dgeport, CT 06607
        Un ted States
        (860) 536-9651




                                                                                                                            Estimate
                                                                                                    LADY MAY - Engine Service Support
                                                                                                                               ID: 6279


             Co
             Contact
                 act                                          Vessel
             L oyd Benard                                     Lady May
             captain@yacht adymay.com                         Dimensions: 151 x 32 x 7
             1 3057994799                                     Make: eadship
                                                              Weight: 0



             Estimate Comments
             This is the budgetary estimate to support the OEM engine service onboard the m/y LADY MAY.
             This estimate includes protection of the work area, engineering and building job specific A-Frame, R+R
             interferences and sea trial vessel once completed.
             This estimate does not include CT Sales Tax.

             A deposit of $132,288.00 is requested to proceed.

        Eng
        Engine
            ne Se
               Service
                  vic SSupport
                           ort                                                                                          $264,576.
                                                                                                                        $264,576.00
                                                                                                                                  0
        C
        Comments:
                n s: 1. Bridgeport Boatworks estimates 14 days to comp ete the primary remova of interferences to support the OEM
        Caterpi ar Technicians to engage in work. Bridgeport Boatworks estimates 14 days to comp ete the re-insta ation of a
        components removed back to design specification. The tota number of Days dry docked wi increase once OEM Estimate is
        factored in.

        2. Bridgeport Boatworks expects the work scope to be as fo ows: Protect work area and pathways to work area. Remove and
        reinsta exhaust pipe, shie ding and insu ation, framework around engine and piping in bi ge area. A components wi be
        documented and stowed outside of the vesse in abe ed containers unti the OEM service is comp ete. Once c ear, Move engine
        forward to disconnect and remove gearbox and coup ing. Assist with removing parts from damaged engine. Assist OEM if
        crankshaft needs to be removed to repair damaged components. nventory and c ean a parts/interferences to be reinsta ed.
        Re-connect gearbox and coup ing. nsta a components back to engineer specifications. C ean area of a debris. A ign vesse
        drive train with appropriate too ing and specifications with trained experts, record a data. Observe and report data compi ed
        from dynamic testing at a RPM ranges. Prove repairs comp ete.

        3. Subcontractor abor in this estimate does not inc ude any OEM abor or parts. This Estimate is the support services
        surrounding the Caterpi ar OEM Expert Service.

        4. Custom components fabricated for the remova of any machinery space may have to be assemb ed in p ace and
        disassemb ed to remove out of the machinery space. Regard ess, any custom too ing wi be provided back to the c ient for
        future use.

        5. Bridgeport Boatworks wi compi e data during testing of repairs using measured data surrounding the machinery(Exhaust
        Leaks, Oi Pressure, Noise Leve , Vibration). n the un ike y event that there is a finding not up to specification, Bridgeport
        Boatworks wi take the appropriate steps to remediate the fau t back to a satisfactory range.

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        L abor                                                                       Rate                               Qt
                                                                                                                        Qty                              Total
                                                                                                                                                            al

                  Subcontractor Labor BB                                 $126,000.00                   at ee                 1               $126,000.00 N
                  C
                  Comments:
                         e s: Budgetary Estimate is proposed as a at
                  Rate fee for the work scope projected to take 14 days
                  eading up to OEM work, with an additiona 14 days after
                  OEM is comp eted.

                  Whi e performing the scope of work, if emergent
                  repairs/parts rep acement are needed, a supp ementa
                  work order estimate wi be provided for approva and
                  imp ementation.

                   or ornb ower, warranty on insta ation and a ignment is
                  thirty days from the time of verification.



        P
        Partt                                                                           R
                                                                                        Rate
                                                                                           e                                 Qty
                                                                                                                              t                          Total
                                                                                                                                                            al

                  Estimated Parts BB                                                    $128,400.00                              1           $128,400.00 T
                  C
                  Comments:
                          e s: 1. Engine mounts- x4
                  2. nsu ation, Custom made, to protect inside shie ding
                  3. A ignment
                  4. Protection of azarette, deck, surrounding space.
                  5. Misce aneous, paint, hardware, consumab es.


        C
        Charge
            ge                                                                         Rate
                                                                                         t                              Q
                                                                                                                        Qty
                                                                                                                          y                              Total
                                                                                                                                                            al

                  Environmenta & Safety ee BB                                          4% (Parts and Labor)              1                    $10,176.00 N


                   Labo
                   Labor                    Parts
                                             arts                 Charg
                                                                  Charges                   Su
                                                                                            Subtota
                                                                                               t t                      Tax
                                                                                                                         ax                    T ota
             $126
             $126,000.00
                  000                 $128
                                      $128,400.00
                                           4 0.00              $10
                                                               $10,176.00
                                                                   176                   $264,576.00
                                                                                            4,576. 0                                      $272
                                                                                                                                          $272,729.40
                                                                                                                                               72 .40



             Term
             Terms aand C
                        Conditions
                          ndi i
             We are p eased to prov de th s Est mate for repa r work on your vesse



             Th s Budgetary Est mate s based upon our nspect on of your vesse , nformat on that you have prov ded to us, and

             our exper ence regard ng s m ar vesse s and work t s poss b e that defect ve parts or other ssues w th

             your vesse w be d scovered after our work has begun and, for these reasons, th s Est mate does not

                nc ude add t ona parts or abor that may be requ red after the job has begun We w not fy you of any

             such ssues f they shou d ar se Tax, Env ronenta and Subcontractor charges may be add t ona f app cab e



             The pr c ng set forth n th s Est mate s based on the assumpt ons, exc us ons and scope of work set forth

             here n, and s va d for fourteen (14) days from the date of the Est mate



             Your acceptance of th s Est mate s subject to the terms and cond t ons attached hereto as Exh b t A

             A depos t s requ red at the t me of approva , w th the ba ance and any add t ona charges due upon comp et on

             A payment schedu e w be prov ded by Br dgeport Boatworks, ay ng out the est mated expenses for the upcom ng

             months work Th s w a ow the customer to budget/make payment on a month y bas s and keep account n the


about b an                                                                                                                                         Page 2 of 6
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             of the Change Request and prov de Owner w th a wr tten statement sett ng forth ts est mate of the

             cost of the change W th n a reasonab e t me after rece pt of a Change Request from Br dgeport

             Boatworks, Owner sha prov de a wr tten acceptance or reject on of the Change Request Br dgeport

             Boatworks fee for the Serv ces sha be adjusted to the extent of any ncrease n Serv ces, at a fixed

             amount as agreed by the part es, or f the part es do not agree to a fixed amount, on a t me and

             mater a s (T&M) bas s at the rates set forth her n, or f no rates are set forth, at rates agreed by

             the part es Br dgeport Boatworks sha not be requ red to proceed w th a change n serv ces absent

             agreement by the part es n wr t ng



             4 Warranty: Br dgeport Boatworks warrants that the Serv ces sha be performed us ng personne of

             requ red sk , exper ence and qua ficat ons n a profess ona and workman ke manner Other than as

             set forth here n, Br dgeport Boatworks makes no warrant es regard ng workmansh p or mater a s,

             e ther express or mp ed, nc ud ng any mp ed warranty or merchantab ty, fitness for a part cu ar

             purpose or seaworth ness



             5 Fees and Costs: Owner sha re mburse Br dgeport Boatworks for a costs ncurred n co ect ng any

                ate payments, nc ud ng, w thout m tat on, attorneys fees n add t on to a other remed es

             ava ab e under th s Agreement or at aw (wh ch Br dgeport Boatworks does not wa ve by the

             exerc se of any r ghts hereunder), Br dgeport Boatworks sha be ent t ed to suspend the de very of

             any goods or performance of any serv ces hereunder f the Owner fa s to pay any amounts when due

             hereunder



             6 L ab ty of Br dgeport Boatworks: Br dgeport Boatworks sha have no ab ty for any matters

             ar s ng out of or re ated to th s Agreement except to the extent caused by the so e neg gence of

             Br dgeport Boatworks or those for whom t s d rect y respons b e n no event sha Br dgeport

             Boatworks     ab ty for any matters ar s ng out of or re ated to th s Agreement exceed the fee pa d to

             Br dgeport Boatworks under th s Agreement No pr nc pa , partner, member, d rector, officer, agent,

             servant, emp oyee, or consu tant of Br dgeport Boatworks sha have any persona ab ty re at ng to

             the subject matter of th s Agreement



             7 nsurance: Owner sha at a t mes ma nta n adequate and customary nsurance cover ng the Vesse

             for the durat on of the Serv ces, nc ud ng wh e the Vesse s n the custody and/or contro of

             Br dgeport Boatworks Owner and Br dgeport Boatworks each hereby wa ve the r ent re r ght of

             recovery aga nst the other for njury, oss, or damage to the extent covered by nsurance proceeds

             rece ved by the damaged party A po c es requ red hereunder sha prov de that the respect ve

             carr er(s) wa ves a r ghts of subrogat on w th respect to osses payab e under such po c es



             8 Term nat on: Br dgeport Boatworks sha have the r ght to term nate th s Agreement upon seven (7)

             days wr tten not ce n the event that Owner s n mater a breach of ts ob gat ons hereunder n the

             event the Agreement s term nated for any reason pr or to the comp et on of the Serv ces, then, n

             add t on to the re mbursab e expenses deta ed here n, Owner sha pay to Br dgeport Boatworks the



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             ba ance of the rema n ng fee as of the date of term nat on, represent ng payment for demob zat on

             costs, opportun ty costs, and ant c pated ost profit Br dgeport Boatworks exerc se of ts r ghts under

             th s sect on sha not n any way m t or abr dge other remed es ava ab e to t under the Agreement

             or app cab e aw, nc ud ng any en r ghts w th respect to the Vesse



             9 Force Majeure: Br dgeport Boatworks sha not be ab e or respons b e to the Owner, nor be deemed

             to have defau ted or breached th s Agreement, for any fa ure or de ay n fu fi ng or perform ng any

             term of th s Agreement when and to the extent such fa ure or de ay s caused by or resu ts from acts

             or c rcumstances beyond the reasonab e contro of Br dgeport Boatworks nc ud ng, w thout

                m tat on, acts of God, flood, fire, earthquake, exp os on, governmenta act ons, war, terror st threats

             or acts, r ot, or other c v unrest, pub c emergency, ep dem cs or pandem cs, ockouts, str kes or

             other abor d sputes, or restra nts or de ays affect ng carr ers or nab ty or de ay n obta n ng supp es

             of adequate or su tab e mater a s, mater a s or te ecommun cat on breakdown or power outage



             10 Genera Prov s ons:

             a Owner hereby grants Br dgeport Boatworks, ts agents and emp oyees, perm ss on to operate

             the Vesse for the purpose of test ng and/or nspect on

             b Owner sha remove a art c es of persona property, gear, or other appurtenances not necessary

             for the performance of the Serv ces from the Vesse pr or to de very of the Vesse to

             Br dgeport Boatworks Br dgeport Boatworks sha not be respons b e for damage to or oss of

             any such art c es of persona property, gear, or other appurtenances eft aboard the Vesse , due

             to fire, theft, p ferage, or otherw se De very of the Vesse does not const tute a ba ment of

             any art c es of persona property, gear, or other appurtenances eft on the Vesse wh ch are not

             necessary for the performance of the Serv ces

             c Th s Agreement const tutes the ent re agreement between the part es hereto regard ng the

             subject matter hereof, and supersedes a pr or agreements, whether wr tten or ora

             d No change, mod ficat on, or amendment sha be made to th s Agreement un ess set forth n

             wr t ng and s gned by the part es hereto

             e A express representat ons, warrant es, ndemn ficat ons, and m ts of ab ty nc uded n th s

             Agreement w surv ve ts comp et on or term nat on for any reason f any prov s on of th s

             Agreement sha be he d nva d, ega or unenforceab e by a court of competent jur sd ct on,

             the va d ty, ega ty and enforceab ty of the rema n ng prov s ons sha n no way be affected

             or mpa red thereby The rema n ng prov s ons sha rema n n fu force and effect, as f the

             unenforceab e prov s on had been de eted The part es agree to rep ace any om tted prov s on

             w th a va d prov s on that comes as c ose as poss b e to the ntent of the om tted prov s on

             f Th s Agreement sha be governed by and construed under the aws of the state n wh ch the

             Serv ces are performed, w thout regard to ts confl cts of aws pr nc p es

             g Br dgeport Boatworks and Owner w first attempt to reso ve d sputes or d sagreements

             through d scuss ons between the r respect ve representat ves, who sha meet upon the request

             of e ther party as soon as conven ent y poss b e to attempt to reso ve such d spute or

             d sagreement f after meet ng, the representat ves determ ne that the d spute or d sagreement



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             cannot be reso ved on terms sat sfactory to both part es, the part es sha subm t the d spute or

             d sagreement to non-b nd ng med at on The med at on sha be conducted by a mutua y

             agreeab e mpart a med ator, or f the part es cannot so agree, a med ator des gnated by the

             Amer can Arb trat on Assoc at on ( AAA ) f a d spute has not been reso ved n accordance

             w th the procedures set forth above, such d sputes sha be dec ded by arb trat on n accordance

             w th the app cab e AAA ru es then n effect, un ess the part es mutua y agree otherw se The

             award of the arb trator(s) sha be fina and b nd ng upon the part es w thout the r ght of appea

             to the courts Judgment may be entered upon t n accordance w th app cab e aw by any court

             hav ng jur sd ct on thereof




             Notice

             This estimate is not an invoice and does not represent the final amount due or the balance on this
             estimate.

             For questions or concerns, please call Bridgeport Boatworks at (860) 536-9651.




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        Br dgeport Boatworks
        731 Seav ew Ave
        Br dgeport, CT 06607
        Un ted States
        (860) 536-9651




                                                                                                                     Estimate
                                                                                            Lady May -DA LY YARD COSTS 2022
                                                                                                                        I D: 6079


             Co
             Contact
                 act                                      Vessel
             L oyd Benard                                 Lady May
             captain@yacht adymay.com                     Dimensions: 151 x 32 x 7
             1 3057994799                                 Make: eadship
                                                          Weight: 0



             Estimate Comments
             This is the budgetary estimate for the yard period for the 152' motor vessel LADY MAY.
             This estimate is subject to the Naval Architect / Pre-Haul Engineering Evaluation, to determine if this
             vessel can be safely lifted with Bridgeport Boatworks Marine Travelift.
             This estimate does not include CT Sales Tax.

             A deposit of $15,000 is requested to secure space and estimated labor.

        11. Daily
              i y Vessel
                    ss l St
                         Storage
                            rage                                                                                       $456.00
                                                                                                                        456. 0

        L abor                                                       Rate                      Q ty                           Total
                                                                                                                                tal

                 Summer Storage BB                                   $3.00   at ee             152                     $456.00 T


        2. Da
           Daily
              l SShore
                    re P
                       Power
                         wer El
                             Electric
                                ctric                                                                                  $124.80
                                                                                                                        1   80
        C
        Comments:
             n s: Dai y 480V / 100amp / 3 Phase Shore Power

        L abor                                                       Rate
                                                                        e                      Q ty                           Total
                                                                                                                                 al

                 Summer E ectric BB                                  $120.00    at ee              1                   $120.00 N


        C
        Charge
            ge                                                       Rate                     Qty
                                                                                               ty                             Total
                                                                                                                                tal

                 Environmenta & Safety ee BB                         4% (Parts and Labor)      1                            $4.80 N


        3. P
           Project
             oj ct Management-
                    a ge ent- 10 Hours
                                 Hours/week
                                         ek                                                                          $
                                                                                                                     $1,352.00
                                                                                                                       ,352. 0

        L abor                                                       Rate
                                                                      at                       Qty
                                                                                                ty                            Total
                                                                                                                                 al


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                 Project Management BB                                 $130.00 Per our            10                    $1,300.00 N


        C
        Charge
            ge                                                         Rate                     Q
                                                                                                Qty
                                                                                                  y                              Total
                                                                                                                                    al

                 Environmenta & Safety ee BB                           4% (Parts and Labor)       1                        $52.00 N


        4. C
           Cooling
             ol ng Tower Renta
                         Rental (Daily)
                                 Da l )                                                                                   $
                                                                                                                          $135.20
                                                                                                                            35.20
        C
        Comments:
             n s: Dai y Renta of Coo ing Tower. Does not inc ude hook up & disconnect which is T&M at $120/hr.

        L abor                                                         Rate
                                                                          e                       Q ty                           Total
                                                                                                                                    al

                 Renta Equipments BB                                   $130.00     at ee              1                   $130.00 T


        C
        Charge
            ge                                                         Rate                      Qty
                                                                                                  ty                             Total
                                                                                                                                   tal

                 Environmenta & Safety ee BB                           4% (Parts and Labor)       1                            $5.20 N


        5. Cran
           Crane O
                 Operator
                   era or Hourly
                              l                                                                                           $
                                                                                                                          $390.00
                                                                                                                            9 . 0

        L abor                                                         Rate                       Q ty                           Total
                                                                                                                                    al

                 Crane Charge BB                                       $375.00 Per our                1                   $375.00 N


        C
        Charge
            ge                                                         Rate                     Q
                                                                                                Qty
                                                                                                  y                              Total
                                                                                                                                   tal

                 Environmenta & Safety ee BB                           4% (Parts and Labor)       1                        $15.00 N


        6. FForklift
              rk i t Operator
                      pe to Hourly                                                                                        $1
                                                                                                                          $104.00
                                                                                                                             4. 0
        C
        Comments:
             n s:        our y ork Lift Charge

        L abor                                                         Rate                       Q ty                           Total
                                                                                                                                   tal

                 Equipment Charge BB                                   $100.00 Per our                1                   $100.00 N


        C
        Charge
            ge                                                         Rate                      Qty
                                                                                                  ty                             Total
                                                                                                                                    al

                 Environmenta & Safety ee BB                           4% (Parts and Labor)       1                            $4.00 N


        7. W
           Waste
             st WWater
                   te CContainment
                          tainment & Disposal
                                       sp al                                                                            $8,284.64
        C
        Comments:
             n s: Supp y Vesse with 1,000 ga on ho ding tank whi e on the hard and schedu e 3 pump outs per week.

        L abor                                                         Rate
                                                                        at                        Qty
                                                                                                   ty                            Total
                                                                                                                                    al

                 Subcontractor Labor BB                                $501.00    at ee               1                   $501.00 N
                 C
                 Comments:
                       e s: Drop Off & Pick Up of 1000 ga on waste
                 tank.

                 Renta Equipments BB                                   $625.00     at ee              1                   $625.00 T
                 C
                 Comments:
                       e s: 1,000 ga on waste tank renta (30 days).

                 Subcontractor Labor BB                                $6,500.00    at ee             1                 $6,500.00 N
                 C
                 Comments:
                        e s: Pump out and disposa of 1,000 ga on
                 tank 3x per week, Month y Charge.



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                  Yard Labor BB                                                        $85.00 Per our                     4                      $340.00 N
                  C
                  Comments:
                         e s: ook vesse up to waste ho ding tank via
                  vesse s discharge thru hu fitting.


        C
        Charge
            ge                                                                         Ra
                                                                                       Rate
                                                                                          e                             Q ty                             Total
                                                                                                                                                            al

                  Environmenta & Safety ee BB                                          4% (Parts and Labor)              1                        $318.64 N


        8. 21
           21' Tende
               Tender Ins
                      Inside
                          de S
                             Storage
                                rage B
                                     BB                                                                                                            $
                                                                                                                                                   $87.36
                                                                                                                                                       36
        C
        Comments:
             n s: Dai y inside storage of 21 R B.

        L abor                                                                         R
                                                                                       Rate
                                                                                          e                              Q
                                                                                                                         Qty
                                                                                                                           y                             Total
                                                                                                                                                           tal

                  Summer Storage BB                                                    $4.00   at ee                      21                       $84.00 T


        Ch
        Charge
            ge                                                                         Rate                             Qty
                                                                                                                         ty                              Total
                                                                                                                                                           tal

                  Environmenta & Safety ee BB                                          4% (Parts and Labor)              1                             $3.36 N


        9. Haul & LLaunch
                     unch Tender
                            nde                                                                                                                  $
                                                                                                                                                 $780.00
                                                                                                                                                     . 0

        L abor                                                                         Rate                              Q ty                            Total
                                                                                                                                                           tal

                  Crane Charge BB                                                      $375.00 Per our                       2                   $750.00 N


        C
        Charge
            ge                                                                         Rate                             Q
                                                                                                                        Qty
                                                                                                                          y                              Total
                                                                                                                                                            al

                  Environmenta & Safety ee BB                                          4% (Parts and Labor)              1                         $30.00 N


                   Labo
                   Labor                    Parts
                                             arts                 Charg
                                                                  Charges                   Su
                                                                                            Subtota
                                                                                               t t                      Tax
                                                                                                                         ax                    T ota
                $11,28
                $11,281.00
                         0                 $0.00                 $433
                                                                 $433.00
                                                                       0                  $11,714.00
                                                                                           11,714. 0                                       $$11,796.25
                                                                                                                                                7 .25



             Term
             Terms aand C
                        Conditions
                          ndi i
             We are p eased to prov de th s Est mate for repa r work on your vesse



             Th s Budgetary Est mate s based upon our nspect on of your vesse , nformat on that you have prov ded to us, and

             our exper ence regard ng s m ar vesse s and work t s poss b e that defect ve parts or other ssues w th

             your vesse w be d scovered after our work has begun and, for these reasons, th s Est mate does not

                nc ude add t ona parts or abor that may be requ red after the job has begun We w not fy you of any

             such ssues f they shou d ar se Tax, Env ronenta and Subcontractor charges may be add t ona f app cab e



             The pr c ng set forth n th s Est mate s based on the assumpt ons, exc us ons and scope of work set forth

             here n, and s va d for fourteen (14) days from the date of the Est mate



             Your acceptance of th s Est mate s subject to the terms and cond t ons attached hereto as Exh b t A

             A depos t s requ red at the t me of approva , w th the ba ance and any add t ona charges due upon comp et on

             A payment schedu e w be prov ded by Br dgeport Boatworks, ay ng out the est mated expenses for the upcom ng


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             t me after rece pt of a Change Request from Owner, Br dgeport Boatworks sha eva uate the mpact

             of the Change Request and prov de Owner w th a wr tten statement sett ng forth ts est mate of the

             cost of the change W th n a reasonab e t me after rece pt of a Change Request from Br dgeport

             Boatworks, Owner sha prov de a wr tten acceptance or reject on of the Change Request Br dgeport

             Boatworks fee for the Serv ces sha be adjusted to the extent of any ncrease n Serv ces, at a fixed

             amount as agreed by the part es, or f the part es do not agree to a fixed amount, on a t me and

             mater a s (T&M) bas s at the rates set forth her n, or f no rates are set forth, at rates agreed by

             the part es Br dgeport Boatworks sha not be requ red to proceed w th a change n serv ces absent

             agreement by the part es n wr t ng



             4 Warranty: Br dgeport Boatworks warrants that the Serv ces sha be performed us ng personne of

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             set forth here n, Br dgeport Boatworks makes no warrant es regard ng workmansh p or mater a s,

             e ther express or mp ed, nc ud ng any mp ed warranty or merchantab ty, fitness for a part cu ar

             purpose or seaworth ness



             5 Fees and Costs: Owner sha re mburse Br dgeport Boatworks for a costs ncurred n co ect ng any

                ate payments, nc ud ng, w thout m tat on, attorneys fees n add t on to a other remed es

             ava ab e under th s Agreement or at aw (wh ch Br dgeport Boatworks does not wa ve by the

             exerc se of any r ghts hereunder), Br dgeport Boatworks sha be ent t ed to suspend the de very of

             any goods or performance of any serv ces hereunder f the Owner fa s to pay any amounts when due

             hereunder



             6 L ab ty of Br dgeport Boatworks: Br dgeport Boatworks sha have no ab ty for any matters

             ar s ng out of or re ated to th s Agreement except to the extent caused by the so e neg gence of

             Br dgeport Boatworks or those for whom t s d rect y respons b e n no event sha Br dgeport

             Boatworks     ab ty for any matters ar s ng out of or re ated to th s Agreement exceed the fee pa d to

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             7 nsurance: Owner sha at a t mes ma nta n adequate and customary nsurance cover ng the Vesse

             for the durat on of the Serv ces, nc ud ng wh e the Vesse s n the custody and/or contro of

             Br dgeport Boatworks Owner and Br dgeport Boatworks each hereby wa ve the r ent re r ght of

             recovery aga nst the other for njury, oss, or damage to the extent covered by nsurance proceeds

             rece ved by the damaged party A po c es requ red hereunder sha prov de that the respect ve

             carr er(s) wa ves a r ghts of subrogat on w th respect to osses payab e under such po c es



             8 Term nat on: Br dgeport Boatworks sha have the r ght to term nate th s Agreement upon seven (7)

             days wr tten not ce n the event that Owner s n mater a breach of ts ob gat ons hereunder n the

             event the Agreement s term nated for any reason pr or to the comp et on of the Serv ces, then, n



about b an                                                                                                                             Page 5 of 7
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             add t on to the re mbursab e expenses deta ed here n, Owner sha pay to Br dgeport Boatworks the

             ba ance of the rema n ng fee as of the date of term nat on, represent ng payment for demob zat on

             costs, opportun ty costs, and ant c pated ost profit Br dgeport Boatworks exerc se of ts r ghts under

             th s sect on sha not n any way m t or abr dge other remed es ava ab e to t under the Agreement

             or app cab e aw, nc ud ng any en r ghts w th respect to the Vesse



             9 Force Majeure: Br dgeport Boatworks sha not be ab e or respons b e to the Owner, nor be deemed

             to have defau ted or breached th s Agreement, for any fa ure or de ay n fu fi ng or perform ng any

             term of th s Agreement when and to the extent such fa ure or de ay s caused by or resu ts from acts

             or c rcumstances beyond the reasonab e contro of Br dgeport Boatworks nc ud ng, w thout

                m tat on, acts of God, flood, fire, earthquake, exp os on, governmenta act ons, war, terror st threats

             or acts, r ot, or other c v unrest, pub c emergency, ep dem cs or pandem cs, ockouts, str kes or

             other abor d sputes, or restra nts or de ays affect ng carr ers or nab ty or de ay n obta n ng supp es

             of adequate or su tab e mater a s, mater a s or te ecommun cat on breakdown or power outage



             10 Genera Prov s ons:

             a Owner hereby grants Br dgeport Boatworks, ts agents and emp oyees, perm ss on to operate

             the Vesse for the purpose of test ng and/or nspect on

             b Owner sha remove a art c es of persona property, gear, or other appurtenances not necessary

             for the performance of the Serv ces from the Vesse pr or to de very of the Vesse to

             Br dgeport Boatworks Br dgeport Boatworks sha not be respons b e for damage to or oss of

             any such art c es of persona property, gear, or other appurtenances eft aboard the Vesse , due

             to fire, theft, p ferage, or otherw se De very of the Vesse does not const tute a ba ment of

             any art c es of persona property, gear, or other appurtenances eft on the Vesse wh ch are not

             necessary for the performance of the Serv ces

             c Th s Agreement const tutes the ent re agreement between the part es hereto regard ng the

             subject matter hereof, and supersedes a pr or agreements, whether wr tten or ora

             d No change, mod ficat on, or amendment sha be made to th s Agreement un ess set forth n

             wr t ng and s gned by the part es hereto

             e A express representat ons, warrant es, ndemn ficat ons, and m ts of ab ty nc uded n th s

             Agreement w surv ve ts comp et on or term nat on for any reason f any prov s on of th s

             Agreement sha be he d nva d, ega or unenforceab e by a court of competent jur sd ct on,

             the va d ty, ega ty and enforceab ty of the rema n ng prov s ons sha n no way be affected

             or mpa red thereby The rema n ng prov s ons sha rema n n fu force and effect, as f the

             unenforceab e prov s on had been de eted The part es agree to rep ace any om tted prov s on

             w th a va d prov s on that comes as c ose as poss b e to the ntent of the om tted prov s on

             f Th s Agreement sha be governed by and construed under the aws of the state n wh ch the

             Serv ces are performed, w thout regard to ts confl cts of aws pr nc p es

             g Br dgeport Boatworks and Owner w first attempt to reso ve d sputes or d sagreements

             through d scuss ons between the r respect ve representat ves, who sha meet upon the request

             of e ther party as soon as conven ent y poss b e to attempt to reso ve such d spute or



about b an                                                                                                                                Page 6 of 7
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                                                                                                                          54        12 56 PM


             d sagreement f after meet ng, the representat ves determ ne that the d spute or d sagreement

             cannot be reso ved on terms sat sfactory to both part es, the part es sha subm t the d spute or

             d sagreement to non-b nd ng med at on The med at on sha be conducted by a mutua y

             agreeab e mpart a med ator, or f the part es cannot so agree, a med ator des gnated by the

             Amer can Arb trat on Assoc at on ( AAA ) f a d spute has not been reso ved n accordance

             w th the procedures set forth above, such d sputes sha be dec ded by arb trat on n accordance

             w th the app cab e AAA ru es then n effect, un ess the part es mutua y agree otherw se The

             award of the arb trator(s) sha be fina and b nd ng upon the part es w thout the r ght of appea

             to the courts Judgment may be entered upon t n accordance w th app cab e aw by any court

             hav ng jur sd ct on thereof




             Notice

             This estimate is not an invoice and does not represent the final amount due or the balance on this
             estimate.

             For questions or concerns, please call Bridgeport Boatworks at (860) 536-9651.




about b an                                                                                                                      Page 7 of 7
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                             EXHIBIT B
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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT
                                BRIDGEPORT DIVISION

 In re:                                             Chapter 11

 HO WAN KWOK,                                       Case No: 22-50073 (JAM)

                        Debtor.


 PACIFIC ALLIANCE ASIA OPPORTUNITY Re: ECF Nos. 299 and 728
 FUND, L.P.,

                        Movant,

 v.

 HO WAN KWOK,

                        Respondent.

                                ORDER COMPELLING
                      PARTIAL DISBURSEMENT OF ESCROW FUNDS

          Upon the stipulation of the debtor, Ho Wan Kwok, HK International Funds Investments

(USA) Limited, LLC (“HK USA”), Pacific Alliance Asia Opportunity Fund, L.P., the Official

Committee of Unsecured Creditors (the “Committee”), the creditors, Rui Ma and Zheng Wu, and

the trustee appointed in this case, Luc A. Despins (the “Trustee,” and, collectively, the

“Stipulating Parties”), to the entry of the proposed Order Granting HK International Funds

Investments (USA) Limited, LLC’s Motion For Order Establishing Repair Reserve for The Lady

May (“Repair Reserve Order”), and to the entry of this Order, and this Court having entered the

Repair Reserve Order, it is hereby:

          ORDERED, that as soon as reasonably practical after this Order becomes a final, non-

appealable order, HK USA shall serve upon the Escrow Agent, U.S. Bank National Association

(the “Escrow Agent”), in accordance with paragraph 4(ii) of the Escrow Agreement dated as of
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April 28, 2022 (the “Escrow Agreement”), by and between HK USA, the Committee and the

Escrow Agent, the required certificate including a copy of this Order, and that within seven (7)

days thereafter the Escrow Agent shall transfer and deliver Four Million ($4,000,000) of the

Escrow Funds (as that term is defined in the Escrow Agreement) to the Trustee in accordance

with the instructions appended hereto as Exhibit 1; and it is further

         ORDERED, that in all other respects the Escrow Agreement and that certain Stipulated

Order Compelling HK International Funds Investments (USA) Limited, LLC to Transport and

Deliver that Certain Yacht, The “Lady May” entered by this Court on April 29, 2022 [ECF No.

299] (the “Stipulated Order”), shall remain in full force and effect. 1




1
  Nothing in this Order, nor the Trustee’s participation in formulating this Order, shall be deemed to affect whether
the Trustee is a party to or subject to the Stipulated Order, and all parties’ rights in this regard are reserved.
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                                           Exhibit 1


 Beneficiary Name                                         BK EST/HO WAN KWOK DEBTOR
 Beneficiary Account Number                               5500018263
 Bank Routing Number (domestic wires)                     322070381
 Bank Routing/Swift Code (international wires)            EWBKUS66XXX
 Receiving Bank Name                                      East West Bank
 Receiving Bank Address (branch address)                  135 N. Los Robles Ave., Suite 600
 Receiving Bank Address (branch city, state, zip)         Pasadena, CA 91101
 Other Information                                        LUC A DESPINS, CH11 TRUSTEE
